Exhibit 37
                             SECURITIES AND EXCHANGE COMMISSION
                                    WASHINGTON, D.C. 20549
                                          FORM 10-K
                                  FOR ANNUAL AND TRANSITION REPORTS
                    PURSUANT TO SECTION 13 OR 15(d) THE SECURITIES EXCHANGE ACT OF 1934
(Mark One)
 ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                           For the fiscal year ended December 31, 2020
                                                                             OR
   TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                       For the transition period from ____________ to ___________
                                                          Commission File Number 0-4776

                                     STURM, RUGER & COMPANY, INC.
                                                     (Exact Name of Registrant as Specified in Its Charter)

                                       Delaware                                                          XX-XXXXXXX
                                (State or Other Jurisdiction of                                           (I.R.S. Employer
                               Incorporation or Organization)                                            Identification No.)

                 1 Lacey Place, Southport, Connecticut                                                        06890
                          (Address of Principal Executive Offices)                                            (Zip Code)
                                                                     (203) 259-7843
                                                     (Registrant’s telephone number, including area code)
                                                   Securities registered pursuant to Section 12(b) of the Act:
                  Title of Each Class                                Trading Symbol(s)              Name of Each Exchange on Which Registered
             Common Stock, $1 par value                                    RGR                              New York Stock Exchange
                                              Securities registered pursuant to Section 12(g) of the Act:
                                                                         None
                                                                    (Title of Class)
Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. YES  NO
Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. YES       NO 
Indicate by check mark whether registrant (1) has filed all reports required to be filed by Section 13 or Section 15(d) of the Securities Exchange
Act of 1934 during the preceding 12 months (or shorter such period of time that the registrant was required to file such reports), and (2) has been
subject to such filing requirements for the past 90 days. YES  NO
Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule
405 of Regulation S-T (§ 232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to
submit such files). YES  NO
Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company,
or an emerging growth company. See definition of “accelerated filer,” “large accelerated filer,” “smaller reporting company,” and “emerging
growth company” in Rule 12b-2 of the Exchange Act. Large accelerated filer [  ] Accelerated filer [ ] Non-accelerated filer [ ] Smaller
reporting company [ ] Emerging growth company [ ]
Indicate by check mark whether the registrant has filed a report on and attestation to its management’s assessment of the effectiveness of its internal
control over financial reporting under Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C 7262(b)) by the registered public accounting firm that
prepared or issued its audit report. [  ]
If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with
any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. [ ]
Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). YES            NO 
The aggregate market value of the voting and non-voting common equity held by non-affiliates of the registrant computed by reference to the price
at which the common equity was last sold, or the average bid and asked price of such common equity, as of June 30, 2020:
Common Stock, $1 par value - $1,313,936,500
The number of shares outstanding of the registrant's common stock as of February 12, 2021: Common Stock, $1 par value –17,545,000 shares
                                               DOCUMENTS INCORPORATED BY REFERENCE.
Portions of the registrant’s Proxy Statement relating to the 2021 Annual Meeting of Stockholders to be held May 12, 2021 are incorporated by
reference into Part III (Items 10 through 14) of this Report.

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                                                 EXPLANATORY NOTE:



In this Annual Report on Form 10-K, Sturm, Ruger & Company, Inc. and Subsidiary (the “Company”) makes forward-
looking statements and projections concerning future expectations. Such statements are based on current expectations and
are subject to certain qualifying risks and uncertainties, such as market demand, sales levels of firearms, anticipated castings
sales and earnings, the need for external financing for operations or capital expenditures, the results of pending litigation
against the Company, the impact of future firearms control and environmental legislation, and accounting estimates, any
one or more of which could cause actual results to differ materially from those projected. Words such as “expect,” “believe,”
“anticipate,” “intend,” “estimate,” “will,” “should,” “could” and other words and terms of similar meaning, typically
identify such forward-looking statements. Readers are cautioned not to place undue reliance on these forward-looking
statements, which speak only as of the date made. The Company undertakes no obligation to publish revised forward-
looking statements to reflect events or circumstances after the date such forward-looking statements are made or to reflect
the occurrence of subsequent unanticipated events.




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PART I

ITEM 1—BUSINESS

Company Overview

Sturm, Ruger & Company, Inc. and Subsidiary (the “Company”) is principally engaged in the
design, manufacture, and sale of firearms to domestic customers. Virtually all of the Company’s
sales for the year ended December 31, 2020 were from the firearms segment, with approximately
1% from the castings segment. Export sales represent approximately 4% of firearms sales. The
Company’s design and manufacturing operations are located in the United States and almost all
product content is domestic.

The Company has been in business since 1949 and was incorporated in its present form under the
laws of Delaware in 1969. The Company primarily offers products in three industry product
categories – rifles, pistols, and revolvers. The Company’s firearms are sold through independent
wholesale distributors, principally to the commercial sporting market.

The Company manufactures and sells investment castings made from steel alloys and metal
injection molding (“MIM”) parts for internal use in the firearms segment and has minimal sales to
outside customers. The castings and MIM parts sold to outside customers, either directly or
through manufacturers’ representatives, represented approximately 1% of the Company’s total
sales for the year ended December 31, 2020.

On November 23, 2020, the Company acquired substantially all of the Marlin Firearms assets. The
agreement to purchase these assets emanated from the Remington Outdoor Company, Inc.
bankruptcy and was approved by the United States Bankruptcy Court for the Northern District of
Alabama on September 30, 2020. The purchase price of approximately $28.3 million was paid
with available cash on hand. These assets have been moved to the Company’s facilities where
manufacturing cells that will produce Marlin rifles will be established. Shipments of Marlin rifles
are ancitipated in the latter half of 2021.

For the years ended December 31, 2020, 2019, and 2018, net sales attributable to the Company's
firearms operations were $565.9 million, $406.3 million and $490.6 million. The balance of the
Company's net sales for the aforementioned periods was attributable to its castings operations.

Firearms Products

The Company presently manufactures firearm products, under the “Ruger” name and trademark,
in the following industry categories:

Rifles                                               Revolvers
        Single-shot                                      Single-action
        Autoloading                                      Double-action
        Bolt-action
        Modern sporting



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Pistols
     Rimfire autoloading
     Centerfire autoloading

Most firearms are available in several models based upon caliber, finish, barrel length, and other
features.

Rifles
A rifle is a long gun with spiral grooves cut into the interior of the barrel to give the bullet a
stabilizing spin after it leaves the barrel. Net sales of rifles by the Company accounted for $234.3
million, $200.6 million, and $258.1 million of total net sales for the years 2020, 2019, and 2018,
respectively.

Pistols
A pistol is a handgun in which the ammunition chamber is an integral part of the barrel and which
typically is fed ammunition from a magazine contained in the grip. Net sales of pistols by the
Company accounted for $198.1 million, $124.8 million, and $144.3 million of revenues for the
years 2020, 2019, and 2018, respectively.

Revolvers
A revolver is a handgun that has a cylinder that holds the ammunition in a series of chambers
which are successively aligned with the barrel of the gun during each firing cycle. There are two
general types of revolvers, single-action and double-action. To fire a single-action revolver, the
hammer is pulled back to cock the gun and align the cylinder before the trigger is pulled. To fire
a double-action revolver, a single trigger pull advances the cylinder and cocks and releases the
hammer. Net sales of revolvers by the Company accounted for $79.1 million, $56.8 million, and
$63.3 million of revenues for the years 2020, 2019, and 2018, respectively.

Accessories
The Company also manufactures and sells accessories and replacement parts for its firearms.
These sales accounted for $54.1 million, $24.1 million, and $25.0 million of total net sales for the
years 2020, 2019, and 2018, respectively.

Castings Products

Net sales attributable to the Company’s casting operations (excluding intercompany transactions)
accounted for $3.0 million, $4.2 million, and $5.0 million, for 2020, 2019, and 2018, respectively.
These sales represented approximately 1% of total net sales in each of these years.

Manufacturing

Firearms
The Company produces one model of pistol, all of its revolvers and most of its rifles at the
Newport, New Hampshire facility. Most of the Company’s pistols are produced at the Prescott,
Arizona facility. Some rifle models and pistol models are produced at the Mayodan, North
Carolina facility.



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Many of the basic metal component parts of the firearms manufactured by the Company are
produced by the Company's castings segment through processes known as precision investment
casting. The Company also uses many MIM parts in its firearms. See "Manufacturing- Investment
Castings and Metal Injected Moldings" below for a description of these processes. The Company
believes that investment castings and MIM parts provide greater design flexibility and result in
component parts which are generally close to their ultimate shape and, therefore, require less
machining than processes requiring machining a solid billet of metal to obtain a part. Through the
use of investment castings and MIM parts, the Company endeavors to produce durable and less
costly component parts for its firearms.

All assembly, inspection, and testing of firearms manufactured by the Company are performed at
the Company's manufacturing facilities. Every firearm, including every chamber of every revolver
manufactured by the Company, is test-fired prior to shipment.

Investment Castings and Metal Injection Moldings
To produce a product by the investment casting method, a wax model of the part is created and
coated (“invested”) with several layers of ceramic material. The shell is then heated to melt the
interior wax, which is poured off, leaving a hollow mold. To cast the desired part, molten metal is
poured into the mold and allowed to cool and solidify. The mold is then broken off to reveal a
near net shape cast metal part.

Metal injection molding is a three part powder metallurgy process by which a feedstock consisting
of finely powdered metal and binders is processed through injection molding, debinding, and
sintering equipment to produce steel, stainless steel, and alloy parts of complex shape and
geometry. This process allows for high volume production while eliminating many of the wastes
of traditional metal working methods, yielding net shape and near net shape parts.

Marketing and Distribution

Firearms
The Company's firearms are primarily marketed through a network of federally licensed,
independent wholesale distributors who purchase the products directly from the Company. They
resell to federally licensed, independent retail firearms dealers who in turn resell to legally
authorized end users. All retail purchasers are subject to a point-of-sale background check by law
enforcement. These end users include sportsmen, hunters, people interested in self-defense, law
enforcement and other governmental organizations, and gun collectors. Each domestic distributor
carries the entire line of firearms manufactured by the Company for the commercial market.
Currently, 14 distributors service the domestic commercial market, with an additional 26
distributors servicing the domestic law enforcement market and 41 distributors servicing the export
market.

In 2020, the Company’s largest customers and the percent of firearms sales they represented were
as follows: Sports South - 22%; Lipsey’s - 22%; and Davidson’s - 18%.

In 2019, the Company’s largest customers and the percent of firearms sales they represented were
as follows: Lipsey’s - 26%; Sports South - 22%; and Davidson’s - 15%.


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In 2018, the Company’s largest customers and the percent of firearms sales they represented were
as follows: Davidson’s - 21%; Lipsey’s - 20%; and Sports South - 16%.

The Company employs 15 employees who service these distributors and call on retailers and law
enforcement agencies. Because the ultimate demand for the Company's firearms comes from end
users rather than from the independent wholesale distributors, the Company believes that the loss
of any distributor would not have a material, long-term adverse effect on the Company, but may
have a material adverse effect on the Company’s financial results for a particular period. The
Company considers its relationships with its distributors to be satisfactory.

The Company also exports its firearms through a network of selected commercial distributors and
directly to certain foreign customers, consisting primarily of law enforcement agencies and foreign
governments. Foreign sales were no more than 5% of the Company's consolidated net sales for
each of the past three fiscal years.

The Company does not consider its overall firearms business to be predictably seasonal; however,
orders of many models of firearms from the distributors tend to be stronger in the first quarter of
the year and weaker in the third quarter of the year. This is due in part to the timing of the
distributor show season, which occurs during the first quarter.

Investment Castings and Metal Injection Moldings
The castings segment provides castings and MIM parts for the Company’s firearms segment. In
addition, the castings segment produces some products for a number of customers in a variety of
industries.

Competition

Firearms
Competition in the firearms industry is intense and comes from both foreign and domestic
manufacturers. While some of these competitors concentrate on a single industry product category
such as rifles or pistols, several competitors manufacture products in all four industry categories
(rifles, shotguns, pistols, and revolvers). The principal methods of competition in the industry are
product innovation, quality, availability, brand, and price. The Company believes that it can
compete effectively with all of its present competitors.

Investment Castings and Metal Injection Moldings
There are a large number of investment castings and MIM manufacturers, both domestic and
foreign, with which the Company competes. Competition varies based on the type of investment
castings products and the end use of the product. Companies offering alternative methods of
manufacturing such as wire electric discharge machining (EDM) and advancements in computer
numeric controlled (CNC) machining also compete with the Company’s castings segment. Many
of these competitors are larger corporations than the Company with substantially greater financial
resources than the Company, which could affect the Company’s ability to compete with these
competitors. The principal methods of competition in the industry are quality, price, and
production lead time.



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Human Capital

The Company is an equal opportunity employer dedicated to the attraction, development, and
retention of our employees by providing a preferred work environment that promotes and
celebrates our core values of Integrity, Respect, Innovation and Teamwork. Our goal is to develop,
retain and reward passionate and dedicated employees.

As of February 1, 2021, the Company employed approximately 1,870 full-time employees,
approximately 26% of whom had at least ten years of service with the Company.

The Company attracts candidates and retains employees by offering competitive compensation
packages, which include:

       Base wages or salary,
       Profit sharing,
       Medical and welfare coverage,
       Holidays and other “paid time off” (PTO), and
       401(k) plan participation.

The Company believes its compensation packages:

       Provide a base level of compensation to reflect an individual’s role and responsibilities;
       Recognize and reward employees for the Company’s success; and
       Provide for the safety, security and well-being of employees.

Our primary vehicle for human capital development is Ruger University, whose mission is to:

       Enhance the understanding of our industry, Company and culture,
       Strengthen the technical, interpersonal and leadership skills of each employee, and
       Allow employees to positively change their own lives while creating value for all Ruger
        stakeholders.

In addition to the competitive compensation package and the development of employees, the
Company retains its employees by maintaining a safe, responsible, and preferred workplace. The
Company is committed to conducting business in conformance with the highest ethical standards
and in compliance with all relevant legal and regulatory requirements. The “Code of Business
Conduct and Ethics” and the “Corporate Compliance Program” are two active programs that guide
the Company’s practices to achieve these goals.

During the global outbreak of the Coronavirus disease 2019 (“COVID-19”), the Company took
many proactive steps to maintain the health and safety of its employees and maintain a preferred
workplace. These actions included:

       Providing all hourly employees with additional COVID-19 PTO;



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      Encouraging employees to work remotely, wherever possible, and implementing social
       distancing throughout each manufacturing facility, including in every manufacturing cell;
      Through dedicated facility nurses, confidentially communicating with and assisting
       employees with potential health issues;
      Restricting visitor access to avoid introducing new people to the factory environment;
      Implementing additional cleaning, sanitizing, improved ventilation and other health and
       safety processes to maintain a clean and safe workplace; and
      Providing all employees with multiple facemask coverings and other personal protective
       equipment and mandating their use at all times in our facilities.

To assess and improve employee retention and engagement, the Company surveys employees on
an annual basis with the assistance of a third-party consultant, and takes actions to address areas
of employee concern and build on the competencies that are important for our future success.

Research and Development

In 2020, 2019, and 2018, the Company spent approximately $8.0 million, $8.2 million, and $8.5
million, respectively, on research and development activities relating to new products and the
improvement of existing products. Research and development expenses are included in costs of
products sold. As of February 1, 2021, the Company had approximately 65 employees whose
primary responsibilities were research and development activities.

Patents and Trademarks

The Company owns various United States and foreign patents and trademarks which have been
secured over a period of years and which expire at various times. It is the policy of the Company
to apply for patents and trademarks whenever new products or processes deemed commercially
valuable are developed or marketed by the Company. However, none of these patents and
trademarks are considered to be fundamental to any important product or manufacturing process
of the Company and, although the Company deems its patents and trademarks to be valuable and
therefore works to police and protect them, it does not consider its business materially dependent
on patent or trademark protection.

Environmental Matters

The Company is committed to achieving high standards of environmental quality and product
safety, and strives to provide a safe and healthy workplace for its employees and others in the
communities in which it operates. The Company has programs in place that monitor compliance
with various environmental regulations. However, in the normal course of its manufacturing
operations the Company is subject to governmental proceedings and orders pertaining to waste
disposal, air emissions, and water discharges into the environment. These regulations are
integrated into the Company’s manufacturing, assembly, and testing processes. The Company
believes that it is generally in compliance with applicable environmental regulations and that the
outcome of any environmental proceedings and orders will not have a material adverse effect on
the financial position of the Company, but could have a material adverse effect on the financial
results for a particular period.

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Information about our Executive Officers

Set forth below are the names, ages, and positions of the executive officers of the Company.
Officers serve at the discretion of the Board of Directors of the Company.

      Name                     Age                      Position With Company

Christopher J. Killoy           62      President and Chief Executive Officer

Thomas A. Dineen                52      Senior Vice President, Treasurer, and Chief Financial
                                         Officer

Thomas P. Sullivan              60      Senior Vice President of Operations

Kevin B. Reid, Sr.              60      Vice President, General Counsel, and Corporate
                                         Secretary

Shawn C. Leska                  49      Vice President, Sales


Christopher J. Killoy became President & Chief Executive Officer on May 9, 2017. Previously he
served as President and Chief Operating Officer since January 1, 2014. Prior to that he served as
Vice President of Sales and Marketing since November 27, 2006. Mr. Killoy originally joined the
Company in 2003 as Executive Director of Sales and Marketing, and subsequently served as Vice
President of Sales and Marketing from November 1, 2004 to January 25, 2005.

Thomas A. Dineen became Senior Vice President on July 10, 2017. Previously he served as Vice
President since May 24, 2006. Prior to that he served as Treasurer and Chief Financial Officer
since May 6, 2003 and had been Assistant Controller since 2001. Mr. Dineen joined the Company
as Manager, Corporate Accounting in 1997.

Thomas P. Sullivan became Senior Vice President of Operations on July 1, 2017. Mr. Sullivan
joined the Company as Vice President of Newport Operations for the Newport, New Hampshire
Firearms and Pine Tree Castings divisions on August 14, 2006.

Kevin B. Reid, Sr. became Vice President and General Counsel on April 23, 2008. Previously he
served as the Company’s Director of Marketing from June 4, 2007. Mr. Reid joined the Company
in July 2001 as an Assistant General Counsel.

Shawn C. Leska became Vice President, Sales on November 6, 2015. Mr. Leska joined the
Company in 1989 and has served in a variety of positions in the sales department. Most recently,
Mr. Leska served as Director of Sales since 2011.

Where You Can Find More Information

The Company is subject to the informational requirements of the Securities Exchange Act of 1934,
as amended (the "Exchange Act"), and accordingly, files its Annual Report on Form 10-K,
Quarterly Reports on Form 10-Q, Definitive Proxy Statements, Current Reports on Form 8-K, and


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other information with the Securities and Exchange Commission (the "SEC"). As an electronic
filer, the Company's public filings are maintained on the SEC's Internet site that contains reports,
proxy and information statements, and other information regarding issuers that file electronically
with the SEC. The address of that website is http://www.sec.gov.

The Company makes its Annual Report on Form 10-K, Quarterly Reports on Form 10-Q,
Definitive Proxy Statements, Current Reports on Form 8-K and amendments to those reports filed
or furnished pursuant to Section 13(a) or 15(d) of the Exchange Act accessible free of charge
through the Company's Internet site after the Company has electronically filed such material with,
or furnished it to, the SEC. The address of that website is http://www.ruger.com. However, such
reports may not be accessible through the Company's website as promptly as they are accessible
on the SEC’s website.

Additionally, the Company’s corporate governance materials, including its Corporate Governance
Guidelines, the charters of the Audit, Compensation, Nominating and Corporate Governance, Risk
Oversight and Capital Policy committees, and the Code of Business Conduct and Ethics may also
be found under the “Investor Relations” subsection of the “Corporate” section of the Company’s
Internet site at http://www.ruger.com/corporate. A copy of the foregoing corporate governance
materials is available upon written request to the Corporate Secretary at Sturm, Ruger & Company,
Inc., 1 Lacey Place, Southport, Connecticut 06890.


ITEM 1A—RISK FACTORS

The Company’s operations could be affected by various risks, many of which are beyond its
control. Based on current information, the Company believes that the following identifies the most
significant risk factors that could adversely affect its business. Past financial performance may
not be a reliable indicator of future performance and historical trends should not be used to
anticipate results or trends in future periods.

In evaluating the Company’s business, the following risk factors, as well as other information in
this report, should be carefully considered.

Changes in government policies and firearms legislation could adversely affect the
Company’s financial results.
The sale, purchase, ownership, and use of firearms are subject to thousands of federal, state and
local governmental regulations. The basic federal laws are the National Firearms Act, the Federal
Firearms Act, and the Gun Control Act of 1968. Federal law generally prohibits the private
ownership of fully automatic weapons manufactured after 1986 and place certain restrictions on
the interstate sale of firearms unless certain licenses are obtained. The Company does not
manufacture fully automatic weapons and holds all necessary licenses under these federal laws. If
the scope of the National Firearms Act is expanded to regulate firearms currently regulated by the
Gun Control Act, it could make acquisition of commonly owned and used firearms more expensive
and complicated for consumers, which could have a material adverse impact on demand for
Company products. Several states currently have laws in effect similar to the aforementioned
legislation.


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In 2005, Congress enacted the Protection of Lawful Commerce in Arms Act (“PLCAA”). The
PLCAA was enacted to address abuses by cities and agenda-driven individuals who wrongly
sought to make firearms manufacturers liable for legally manufactured and lawfully sold products
if those products were later used in criminal acts. The Company believes the PLCAA merely
codifies common sense and long standing tort principles. If the PLCAA is repealed or efforts to
circumvent it are successful and lawsuits similar to those filed by cities and agenda-driven
individuals in the late 1990s and early 2000s are allowed to proceed, it could have a material
adverse impact on the Company.

Currently, federal and several states’ legislatures are considering additional legislation relating to
the regulation of firearms. These proposed bills are numerous and extremely varied, but many
seek either to restrict or ban the sale and, in some cases, the ownership of various types of firearms.
Other legislation seeks to require new technologies, such as microstamping and so-called “smart
gun” technology, which are not proven, reliable or feasible. Such legislation became effective in
California in 2013, which has limited our ability to sell certain products in California. If similar
legislation is enacted in other states, or at the Federal level, it could effectively ban or severely
limit the sale of affected firearms. There also are legislative proposals to limit magazine capacity.

The Company believes that the lawful private ownership of firearms is guaranteed by the Second
Amendment to the United States Constitution and that the widespread private ownership of
firearms in the United States will continue. However, there can be no assurance that the regulation
of firearms will not become more restrictive in the future and that any such restriction would not
have a material adverse effect on the business of the Company. Numerous bills regulating the
ownership of firearms have been proposed at the state and federal levels, and these bills propose a
wide variety of restrictions including, for example, limiting the number of firearms that may be
purchased in a specified time, increasing the age for ownership, imposing additional licensing or
registration requirements, creating additional restrictions on certain, common firearm features, and
levying new taxes on firearms and/or ammunition.

The Company’s results of operations could be further adversely affected if legislation with
diverse requirements is enacted.
With literally thousands of laws being proposed at the federal, state and local levels, if even a small
percentage of these laws are enacted and they are incongruent, the Company could find it difficult,
expensive or even practically impossible to comply with them, impeding new product development
and distribution of existing products.

The COVID-19 pandemic could have a significant adverse impact on the Company’s
operations, financial results, cash flow, and financial condition.
The COVID-19 pandemic has created significant uncertainty and adversely impacted many
industries throughout the global economy. Thus far, the Company has been able to mitigate the
impact of COVID-19 through its proactive measures. However, as this pandemic continues, it is
unknown how it may impact the Company in the future. The extent to which it impacts the
Company’s operations, financial results, cash flow, and financial condition is difficult to predict
and dependent upon many factors over which the Company has no control. These factors include,
but are not limited to, the duration and severity of the pandemic; government restrictions on
businesses and individuals; potential significant adverse impacts on the Company’s employees,


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customers, suppliers, or service providers; the impact on U.S. and global economies and the timing
and rate of economic recovery; and potential adverse effects on the financial markets, any of which
could negatively impact the Company.

The Company’s results of operations could be adversely affected by litigation.
The Company faces risks arising from various asserted and unasserted litigation matters. These
matters include, but are not limited to, assertions of allegedly defective product design or
manufacture, alleged failure to warn, purported class actions against firearms manufacturers,
generally seeking relief such as medical expense reimbursement, property damages, and punitive
damages arising from accidents involving firearms or the criminal misuse of firearms, and those
lawsuits filed on behalf of municipalities alleging harm to the general public. Various factors or
developments can lead to changes in current estimates of liabilities such as final adverse judgment,
significant settlement or changes in applicable law. A future adverse outcome in any one or more
of these matters could have a material adverse effect on the Company’s financial results. See Note
20 to the financial statements which are included in this Annual Report on Form 10-K.

The Company relies upon relationships with financial institutions.
The Company utilizes the services of numerous financial institutions, including banks, insurance
carriers, transfer agents, and others. Anti-gun politicians, gun-control activists, and others may
target these institutions and attempt to pressure them into ceasing to do business with the
Company, or to use financial relationships to impose unacceptable and improper restrictions on
the Company’s business, which could have a material adverse impact on our business, operating
results, and financial condition.

Our insurance may be insufficient to protect us from claims or losses.
We maintain insurance coverage with third-party insurers. However, not every risk or liability is
or can be protected by insurance, and, for those risks we insure, the limits of coverage we purchase
or that are reasonably obtainable in the market may not be sufficient to cover all actual losses or
liabilities incurred. Moreover, there is a risk that commercially available liability insurance will
not continue to be available to us at a reasonable cost, if at all. If liability claims or losses exceed
our current or available insurance coverage, our business and prospects may be harmed.

The Company’s results of operations could be adversely affected by a decrease in demand
for Company products.
If demand for the Company’s products decreases significantly, the Company would be unable to
efficiently utilize its capacity, and profitability would suffer. Decreased demand could result from
a macroeconomic downturn, or could be specific to the firearms industry as a result of social,
political, or other factors. If the decrease in demand occurs abruptly, the adverse impact would be
even greater.

The financial health of our independent distributors is critical to our success.
Over 90% of our sales are made to 14 federally licensed, independent wholesale distributors. We
review our distributors’ financial statements and have credit insurance for many of them.
However, our credit evaluations of distributors and credit insurance may not be completely
effective, especially if an interest rate increase exacts an additional financial strain.



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If one or more independent distributors experience financial distress or liquidity issues, our sales
could be adversely affected and we may not be able to collect our accounts receivable on a timely
basis, which would have an adverse impact on our operating results and financial condition.

The Company must comply with various laws and regulations pertaining to workplace safety
and environment, environmental matters, and firearms manufacture.
In the normal course of its manufacturing operations, the Company is subject to numerous federal,
state and local laws and governmental regulations, and governmental proceedings and orders.
These laws and regulations pertain to matters like workplace safety and environment, firearms
serial number tracking and control, waste disposal, air emissions and water discharges into the
environment. Noncompliance with any one or more of these laws and regulations could have a
material adverse impact on the Company.

Misconduct of our employees or contractors could cause us to lose customers and could have
a significant adverse impact on our business and reputation.
Misconduct, fraud or other improper activities by our employees or contractors could have a
material adverse impact on our business and reputation. Such misconduct could include the failure
to comply with federal, state, local or foreign government procurement regulations, regulations
regarding the protection of personal information, laws and regulations relating to antitrust and any
other applicable laws or regulations.

Product quality and performance is important to the Company’s success.
The Company has a long history of producing rugged, reliable firearms for the commercial market.
While we believe our record of designing, manufacturing, and selling high-quality products
demonstrates our commitment to safety and quality, we have occasionally identified design and/or
manufacturing issues with respect to some firearms and, as a result, issued a product safety bulletin
or initiated a product recall. Depending upon the volume of products we have shipped into the
market, any future recall or safety bulletin could harm our reputation, cause us to lose business,
and cause us to incur significant support and repair costs.

Business disruptions at one of the Company’s manufacturing facilities could adversely affect
the Company’s financial results.
The Newport, New Hampshire, Prescott, Arizona, Mayodan, North Carolina, and Earth City,
Missouri facilities are critical to the Company’s success. These facilities house the Company’s
principal production, research, development, engineering, design, and shipping operations. Any
event that causes a disruption of the operation of any of these facilities for even a relatively short
period of time could have a material adverse effect on the Company’s ability to produce and ship
products and to provide service to its customers.

We rely on our information and communications systems in our operations. Security
breaches and other disruptions could adversely affect our business and results of operations.
Cyber-security threats are significant and evolving and include, among others, malicious software,
attempts to gain unauthorized access to data, and other electronic security breaches that could lead
to disruptions in mission critical systems, unauthorized release of confidential or otherwise
protected information and corruption of data. In addition to security threats, we are also subject
to other systems failures, including network, software or hardware failures, whether caused by us,


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third-party service providers, natural disasters, power shortages, terrorist attacks or other events.
The unavailability of our information or communications systems, the failure of these systems to
perform as anticipated or any significant breach of data security could cause loss of data, disrupt
our operations, lead to financial losses from remedial actions, require significant management
attention and resources, and negatively impact our reputation among our customers and the public,
which could have a negative impact on our financial condition, results of operations and liquidity.

The lack of available raw materials or component parts could disrupt or even cease the
Company’s manufacturing operations. Even if manufacturing operations are not disrupted,
increased costs of raw materials and component parts could adversely affect the Company’s
financial results.
Third parties supply the Company with various raw materials for its firearms and castings, such as
fabricated steel components, walnut, birch, beech, maple and laminated lumber for rifle stocks,
wax, ceramic material, metal alloys, various synthetic products and other component parts. There
is a limited supply of these materials in the marketplace at any given time, which can cause the
purchase prices to vary based upon numerous market factors. If market conditions result in a
significant prolonged inflation of certain prices or if adequate quantities of raw materials cannot
be obtained, the Company’s manufacturing processes could be interrupted and the Company’s
financial condition or results of operations could be materially adversely affected.

The integration of Marlin branded firearms may be more difficult than anticipated.
If we are unable to execute our strategy related to the acquisition of Marlin assets and we are not
able to manufacture Marlin branded firearms to the planned level of quality, quantity, cost
effectiveness, or timeliness as planned, our financial condition, results of operations, and
reputation would suffer.

Retention of key management is critical to the success of the Company.
We rely on the management and leadership skills of our senior management team. Our senior
executives are not bound by employment agreements. The loss of the services of one or more of
our senior executives or other key personnel could have a significant adverse impact on our
business.


ITEM 1B—UNRESOLVED STAFF COMMENTS

None




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ITEM 2—PROPERTIES

The Company’s manufacturing operations are carried out at four facilities. The following table
sets forth certain information regarding each of these facilities:

                                      Approximate
                                       Aggregate
                                        Usable              Status             Segment
                                      Square Feet

     Newport, New Hampshire             350,000             Owned         Firearms/Castings

     Prescott, Arizona                  230,000             Leased             Firearms

     Mayodan, North Carolina            220,000             Owned              Firearms

     Earth City, Missouri                35,000             Leased             Castings

Each firearms facility contains enclosed ranges for testing firearms. The lease of the Prescott
facility provides for rental payments which are approximately equivalent to estimated rates for real
property taxes.

The Company has other facilities that were not used in its manufacturing operations in 2020:

                                      Approximate
                                       Aggregate
                                        Usable              Status             Segment
                                      Square Feet


     Southport, Connecticut              25,000             Owned             Corporate

     Newport, New Hampshire
     (Dorr Woolen Building)              45,000             Owned              Firearms

     Enfield, Connecticut                10,000             Leased             Firearms

     Rochester, New Hampshire              2,000            Leased             Firearms

     Fairport, New York                    3,700            Leased            Corporate

     Madison, North Carolina            130,000             Leased             Firearms

There are no mortgages or any other major encumbrance on any of the real estate owned by the
Company.

The Company’s principal executive offices are located in Southport, Connecticut.




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ITEM 3—LEGAL PROCEEDINGS

The nature of the legal proceedings against the Company is discussed at Note 20 to the financial
statements, which are included in this Form 10-K.

The Company has reported all cases instituted against it through September 26, 2020, and the
results of those cases, where terminated, to the SEC on its previous Form 10-Q and 10-K reports,
to which reference is hereby made.

There were no lawsuits formally instituted against the Company during the three months ending
December 31, 2020.


ITEM 4—MINE SAFETY DISCLOSURES – NOT APPLICABLE




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PART II

ITEM 5—MARKET FOR REGISTRANT'S COMMON EQUITY, RELATED
       STOCKHOLDER MATTERS AND ISSUER PURCHASES OF EQUITY
       SECURITIES

The Company’s common stock is traded on the New York Stock Exchange under the symbol
“RGR.” At February 5, 2021, the Company had 1,756 stockholders of record.

Issuer Repurchase of Equity Securities

In 2019 the Company repurchased shares of its common stock. In 2018 and 2020, the Company
did not repurchase any shares of its common stock. Details of the purchases in 2019 follow:

                                                                           Total      Maximum
                                                                        Number of       Dollar
                                                                           Shares      Value of
                                                                        Purchased     Shares that
                                                Total                    as Part of   May Yet Be
                                              Number of     Average       Publicly    Purchased
                                               Shares      Price Paid   Announced      Under the
  Period                                      Purchased    per Share     Program       Program

  Third Quarter 2019
      July 28 to August 24                        44,500        44.83        44,500   $86,710,000

All of these purchases were made with cash held by the Company and no debt was incurred.

At December 31, 2020 approximately $86.7 million remained authorized for share repurchases.




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    Comparison of Five-Year Cumulative Total Return*
       Sturm, Ruger & Co., Inc., Standard & Poor’s 500, Recreation and Russell 2000 Index
                                  (Performance Results Through 12/31/20)


                                                                                                                        $203.05

$200
                                                                                                                        $188.27

                                                                                             $171.49
                                                                                                                        $165.22
                                                                                              $156.60

$150
                                          $136.40 $139.08            $130.42
                                                                                                 $150.75


                    $121.31                    $130.22                                                                  $129.36
                                                                     $123.77

                                $111.96                              $114.26
$100                  $108.32
       $100.00                                 $98.68
                                                                      $95.86
                         $90.83
                                                                                               $86.15


                                                                                         Sturm, Ruger & Co., Inc.

$50                                                                                      Standard & Poors 500

                                                                                         Recreation

                                                                                         Russell 2000 Index



  $0
    2015                 2016                 2017                   2018                     2019                        2020


   Assumes $100 invested at the close of trading 12/15 in Sturm, Ruger & Co., Inc. common stock,
   Standard & Poor’s 500, Recreation, and Russell 2000 Index
   *Cumulative total return assumes reinvestment of dividends.

   Source: Value Line Publishing LLC

                                            2015           2016      2017        2018         2019              2020
   Sturm, Ruger & Co., Inc.               $100.00         $90.83    $98.68      $95.86       $86.15           $129.36
   Standard & Poor’s 500                  $100.00        $111.96   $136.40     $130.42      $171.49           $203.05
   Recreation                             $100.00        $108.32   $130.22     $114.26      $150.75           $165.22
   Russell 2000 Index                     $100.00        $121.31   $139.08     $123.77      $156.60           $188.27




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Securities Authorized for Issuance Under Equity Compensation Plans

The following table provides information regarding compensation plans under which equity
securities of the Company are authorized for issuance as of December 31, 2020:



                                       Equity Compensation Plan Information
                                                                                        Number of securities
                                                                                      remaining available for
                                                                                       future issuance under
                                  Number of securities to       Weighted-average        equity compensation
                                 be issued upon exercise of      exercise price of        plans (excluding
                                    outstanding options,       outstanding options,    securities reflected in
                                    warrants and rights        warrants and rights          column (a))

             Plan category                  (a)                       (b) *                     (c)
     Equity compensation
     plans approved by
     security holders

                                                                                                 -
     2017 Stock Incentive Plan            362,165                       -                     351,867

     Equity compensation
     plans not approved by
     security holders

     None.
                Total                     362,165                       -                     351,867


*      Restricted stock units are settled in shares of common stock or the cash equivalent.
       Accordingly, the weighted-average exercise price is not applicable.




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ITEM 6—SELECTED FINANCIAL DATA


(Dollars in thousands, except per share data)

 December 31,                             2020           2019        2018        2017        2016

 Net firearms sales                  $565,863        $406,326    $490,607    $517,701    $658,433
 Net castings sales                     3,005            4,180       5,028       4,555       5,895
 Total net sales                      568,868         410,506     495,635     522,256     664,328
 Cost of products sold                377,427         310,958     361,277     368,248     444,774
 Gross profit                         191,441           99,548    134,358     154,008     219,554
 Income before income taxes           120,981           43,027      68,714      77,646    135,921
 Income taxes                          30,583           10,736      17,781      25,504      48,449
 Net income                            90,398           32,291      50,933      52,142      87,472
 Basic earnings per share                5.17             1.85        2.92        2.94        4.62
 Diluted earnings per share              5.09             1.82        2.88        2.91        4.59
 Cash dividends per share               $6.51          $ 0.82      $ 1.10      $ 1.36      $ 1.73



 December 31,                             2020           2019        2018        2017        2016

 Working capital                      $152,612   $188,072   $160,998   $114,107   $133,870
 Total assets                          348,258    348,961    335,532    284,318    346,879
 Total stockholders’ equity            264,699    285,458    264,242    230,149    265,900
 Book value per share                   $15.13   $ 16.05    $ 15.14    $ 13.21    $ 14.23
 Return on stockholders’ equity         32.9%      11.8%      20.6%      21.0%      35.4%
 Current ratio                         2.9 to 1   4.1 to 1   3.3 to 1   3.2 to 1   2.7 to 1
 Common shares outstanding          17,495,900 17,450,500 17,458,000 17,427,100 18,688,500
 Number of stockholders of
    record                               1,727          1,675       1,652       1,664       1,678
 Number of employees                     1,839          1,609       1,811       1,838       2,120
 Number of temporary employees               1              0          11           2         310




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ITEM 7—MANAGEMENT'S DISCUSSION AND ANALYSIS OF FINANCIAL
       CONDITION AND RESULTS OF OPERATIONS


Company Overview

Sturm, Ruger & Company, Inc. (the “Company”) is principally engaged in the design,
manufacture, and sale of firearms to domestic customers. Approximately 99% of sales are from
firearms. Export sales represent approximately 5% of total sales. The Company’s design and
manufacturing operations are located in the United States and almost all product content is
domestic. The Company’s firearms are sold through a select number of independent wholesale
distributors, principally to the commercial sporting market.

The Company also manufactures investment castings made from steel alloys and metal injection
molding (“MIM”) parts for internal use in its firearms and for sale to unaffiliated, third-party
customers. Approximately 1% of sales are from the castings segment.

Orders of many models of firearms from the independent distributors tend to be stronger in the
first quarter of the year and weaker in the third quarter of the year. This is due in part to the timing
of the distributor show season, which occurs during the first quarter.

Impact of Covid-19

The global outbreak of the coronavirus disease 2019 (“COVID-19”) was declared a pandemic by
the World Health Organization and a national emergency by the U.S. Government in March 2020.
The COVID-19 pandemic has created significant uncertainty and adversely impacted many
industries throughout the global economy. In 2020, the Company was able to mitigate the adverse
impact on its business resulting from government restrictions on the movement of people, goods,
and services. The impact of the COVID-19 pandemic is fluid and continues to evolve, and,
therefore, the Company cannot predict the extent to which its business, results of operations,
financial condition, or cash flows will ultimately be impacted. Management continues to monitor
and assess the situation and to prepare for potential implications for the Company’s business,
supply chain and customer demand.

From a liquidity perspective, the Company believes it is currently well positioned to manage
through this global crisis. At the end of 2020, the Company was debt-free, and had cash and short-
term investments totaling $141.2 million and an unused $40.0 million revolving credit facility.

The Company has taken many proactive steps to maintain the health and safety of its employees
and to mitigate the impact on its business. These actions include:

               Providing all hourly employees with an additional two weeks of paid time off,
               Encouraging employees to work remotely, wherever possible, and implementing
                social distancing throughout each manufacturing facility, including in every
                manufacturing cell,
               Communicating with and assisting employees with potential health issues,


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               Restricting visitor access to avoid introducing new people to the factory
                environment,
               Implementing additional cleaning, sanitizing and other health and safety processes
                to maintain a clean and safe workplace, and
               Manufacturing and donating personal protective equipment to local hospitals,
                health care facilities, and police and fire departments in its local communities.

The costs of these actions totaled approximately $3.6 million in 2020. The Company has also
experienced expense reductions and deferrals in certain areas of our business, including reductions
or delays in sponsorships and advertising, reduced conference and trade show participation costs,
and reduced travel expenditures. These expense reductions and deferrals approximated $2.9
million in 2020.

The Company has been able to keep all of its facilities safe and open with only limited restrictions
on operations. While certain parts of the economy have begun to reopen as restrictions have been
lifted, it is possible that additional restrictions will be put in place in the future which could
adversely impact the Company’s business for an indeterminate period.

Since the latter stages of the first quarter of 2020, there has been a significant increase in consumer
demand for firearms, as evidenced by the increase in adjusted National Instant Criminal
Background Check System (“NICS”) checks. This increased demand may be attributable, in part,
to COVID-19. The sustainability of this increased consumer demand, and the ultimate impact of
COVID-19 on consumer demand, cannot be predicted at this time.

The ultimate impact of COVID-19 on the Company’s business, results of operations, financial
condition and cash flows is dependent on future developments, including the duration of the
pandemic and the related length of its impact on the global economy, which are uncertain and
cannot be predicted at this time. The Company estimates that COVID related costs of $1.5 million
to $3 million will be incurred in 2021.

Results of Operations - 2020

Product Demand

The estimated sell-through of the Company’s products from the independent distributors to
retailers in 2020 increased 44% from 2019. For the same period, the National Instant Criminal
Background Check System (“NICS”) background checks (as adjusted by the National Shooting
Sports Foundation (“NSSF”)) increased 60%.

These substantial increases may be attributable to increased public concern about personal
protection and home defense in reaction to:

               Some political and public leaders calling for a reduction in funding and limitations
                on law enforcement activities,
               Protests, demonstrations, and civil unrest in many cities throughout the United
                States,

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                The continuing COVID-19 pandemic, and
                Concern about possible legislation that could curtail or limit gun ownership rights
                 by both state and Federal governments.

New products represented $111.2 million or 22% of firearms sales in 2020, compared to $102.0
million or 26% of firearms sales in 2019. New product sales include only major new products that
were introduced in the past two years. In 2020, new products included the Wrangler revolver, the
Ruger-57 pistol, the LCP II in .22 LR pistol, the PC Charger, and the AR-556 pistol.

Estimated sell-through from distributors to retailers and total adjusted NICS background checks:

                                                            2020           2019           2018

   Estimated Units Sold from Distributors to
   Retailers (1)                                          1,948,900      1,355,500       1,654,600

   Total Adjusted NICS Background Checks (2)             21,084,000     13,199,000     13,116,000

       (1)       The estimates for each period were calculated by taking the beginning inventory at
                 the distributors, plus shipments from the Company to distributors during the period,
                 less the ending inventory at distributors. These estimates are only a proxy for actual
                 market demand as they:

                         Rely on data provided by independent distributors that are not verified by
                          the Company,
                         Do not consider potential timing issues within the distribution channel,
                          including goods-in-transit, and
                         Do not consider fluctuations in inventory at retail.

       (2)       NICS background checks are performed when the ownership of most firearms,
                 either new or used, is transferred by a Federal Firearms Licensee. NICS
                 background checks are also performed for permit applications, permit renewals,
                 and other administrative reasons.

                 The adjusted NICS data presented above was derived by the NSSF by subtracting
                 NICS checks that are not directly related to the sale of a firearm, including checks
                 used for concealed carry (“CCW”) permit application checks as well as checks on
                 active CCW permit databases.

                 Adjusted NICS data can be impacted by changes in state laws and regulations and
                 any directives and interpretations issued by governmental agencies. For example,
                 the use of state issued permits to carry firearms, in lieu of NICS background checks,
                 for certain transactions was significantly curtailed in 2020. This resulted in
                 increases in adjusted NICS background checks for Alabama and Michigan of 95%
                 and 180%, respectively. Excluding these states, adjusted NICS increased 56%,
                 compared with a reported increase of 60%, in 2020.


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Orders Received and Ending Backlog

The Company uses the estimated unit sell-through of our products from the independent
distributors to retailers, along with inventory levels at the independent distributors and at the
Company, as the key metrics for planning production levels.

Orders Received in 2020 increased 149% from 2019. Our ending order backlog of 1,511,900 units
at December 31, 2020 increased 1,324,000 units from a backlog of 187,900 units at December 31,
2019.

The units ordered, value of orders received and ending backlog, net of Federal Excise Tax, for
the trailing three years are as follows (dollars in millions, except average sales price):


                                                           2020         2019          2018

     Orders Received                                     $992.9        $398.4       $430.0

     Average Sales Price of Orders Received                $326         $293          $281

     Ending Backlog                                      $516.6         $57.8        $55.6

     Average Sales Price of Ending Backlog                 $342         $308          $364

Production

The Company reviews the estimated sell-through from the independent distributors to retailers, as
well as inventory levels at the independent distributors and at the Company, semi-monthly to plan
production levels and manage inventories. These reviews resulted in an increase in total unit
production of 26% in 2020 compared to 2019. Reduced hiring to help maintain the health and
safety of employees and the cleanliness of our facilities during the COVID-19 pandemic negatively
impacted production in 2020.




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Annual Summary Unit Data

Firearms unit data for orders, production, and shipments follows:

                                               2020           2019            2018

      Units Ordered                           3,041,700      1,361,100       1,531,100

      Units Produced                          1,659,100      1,313,400       1,610,300

      Units Shipped                           1,717,700      1,326,200       1,633,000

      Average Sales Price                           $329             $306        $300

      Units – Backlog                         1,511,900        187,900        153,000

Inventories

The Company’s finished goods inventory decreased by 58,600 units during 2020.

Distributor inventories of the Company’s products decreased by 231,200 units during 2020 and
are significantly below the level needed to support rapid fulfillment of retailer demand. In the
aggregate, total Company and distributor inventories decreased by 86% in 2020.

Inventory data follows:

                                                    2020            2019      2018

         Units – Company Inventory                  8,800      67,400        80,300

         Units – Distributor Inventory (3)       39,200       270,400       299,700

         Total inventory (4)                     48,000       337,800       380,000


       (3)    Distributor ending inventory as provided by the independent distributors of the
              Company’s products. These numbers do not include goods-in-transit inventory that
              has been shipped from the Company but not yet received by the distributors.
       (4)    This total does not include inventory at retailers. The Company does not have
              access to data on retailer inventories.




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Year ended December 31, 2020, as compared to year ended December 31, 2019:

Net Sales

Consolidated net sales were $568.9 million in 2020. This represents an increase of $158.4 million
or 38.6% from 2019 consolidated net sales of $410.5 million.

Firearms segment net sales were $565.9 million in 2020. This represents an increase of $159.6
million or 39.3% from 2019 firearms net sales of $406.3 million. Firearms unit shipments
increased 29.5% in 2020.

Casting segment net sales were $3.0 million in 2020. This represents a decrease of $1.2 million
or 28.1% from 2019 casting sales of $4.2 million.

Cost of Products Sold and Gross Profit

Consolidated cost of products sold was $377.4 million in 2020. This represents an increase of
$66.4 million or 21.4% from 2019 consolidated cost of products sold of $311.0 million.

The gross margin was 33.7% in 2020. This represents an increase from 24.3% in 2019 as
illustrated below:

 (in thousands)
  Year Ended December 31,                                 2020                     2019

  Net sales                                      $568,868         100%      $410,506        100%

  Cost of products sold, before LIFO,
  overhead and labor rate adjustments to
  inventory, product liability, and product
  safety bulletins and recalls                      375,489       65.9%      313,769       76.4%

  LIFO expense                                         879         0.2%           796       0.2%

  Overhead rate adjustments to inventory               472         0.1%       (3,710)      (0.9)%

  Labor rate adjustments to inventory                  318         0.1%         (415)      (0.1)%

  Product liability                                   1,139        0.2%           718       0.2%

  Product safety bulletins and recalls                 (870)     (0.2)%         (200)      (0.1)%

  Total cost of products sold                       377,427       66.3%      310,958       75.7%

  Gross profit                                   $191,441         33.7%      $ 99,548      24.3%

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Cost of products sold, before LIFO, overhead and labor rate adjustments to inventory, product
liability, and product safety bulletins and recalls- In 2020, cost of products sold, before LIFO,
overhead and labor rate adjustments to inventory, product liability and safety bulletins and recalls
decreased 10.5% as a percentage of sales compared to 2019. This decrease was due primarily to
to the significant increase in sales and production which resulted in favorable leveraging of fixed
costs and a reduction in promotional activities.

LIFO- The Company recognized LIFO expense in 2020 and 2019 of $0.9 million and $0.8 million,
respectively, which increased cost of products sold in both periods.

Overhead Rate Change- The net impact on inventory in 2020 and 2019 from the change in the
overhead rates used to absorb overhead expenses into inventory was a decrease of $0.5 million
and an increase of $3.7 million, respectively, reflecting increased overhead efficiency in 2020 and
decreased overhead efficiency in 2019. The increase in inventory value in 2020 resulted in a
corresponding decrease to cost of products sold and the decrease in inventory value in 2019
resulted in a corresponding increase to cost of products sold.

Labor Rate Adjustments- In 2020, the change in inventory value resulting from the change in the
labor rates used to absorb labor expenses into inventory was a decrease of $0.3 million, reflecting
increased labor efficiency. This decrease in inventory value resulted in a corresponding increase
to cost of products sold. In 2019, the change in inventory value resulting from the change in the
labor rates used to absorb labor expenses into inventory was an increase of $0.4 million, reflecting
decreased labor efficiency. This increase in inventory value resulted in a corresponding decrease
to cost of products sold.

Product Liability- This expense includes the cost of outside legal fees, insurance, and other
expenses incurred in the management and defense of product liability matters. These costs totaled
$1.1 million and $0.7 million in 2020 and 2019, respectively. See Note 20 in the notes to the
financial statements “Contingent Liabilities” for further discussion of the Company’s product
liability.

Product Safety Bulletins and Recalls- In October 2018, the Company issued a safety bulletin
announcing that some Ruger American Pistols chambered in 9mm may exhibit premature wear of
the locking surfaces between the slide and barrel. The Company offered a free retrofit to customers
of affected pistols and recorded a $1.0 million expense in 2018, which was the expected total cost
of the safety bulletin. In 2019 and 2020, the estimated costs remaining for the product safety
bulletin was reduced, which decreased cost of sales by $0.2 million and $0.9 million in 2019 and
2020, respectively.

Gross Profit- Gross profit was $191.4 million or 33.7% of sales in 2020. This is an increase of
$91.9 million from 2019 gross profit of $99.5 million or 24.3% of sales in 2019.

Selling, General and Administrative

Selling, general and administrative expenses were $72.3 million in 2020, an increase of $12.2
million from $60.1 million in 2019, and a decrease from 14.6% of sales in 2019 to 12.7% of sales


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in 2020. The increase in expense was primarily attributable to increased sales and incentive
compensation expenses and the decrease in the percentage of sales was attributable to the
significant increase in sales.

Other Operating Income, net

Other operating income, net was de minimis in 2020 and 2019.

Operating Income

Operating income was $119.1 million or 20.9% of sales in 2020. This is an increase of $79.7
million from 2019 operating income of $39.4 million or 9.6% of sales.

Royalty Income

Royalty income was $0.8 million in 2020 and $0.7 million in 2019.

Interest Income

Interest income was $1.1 million in 2020, a decrease of $1.5 million from $2.6 million in 2019,
due to decreased interest rates earned on short-term investments in 2020.

Interest Expense

Interest expense was $0.2 million and $0.2 million in 2020 and 2019, respectively.

Other Income, Net

Other income, net was $0.1 million in 2020, a decrease of $0.5 million from $0.6 million in 2019.

Income Taxes and Net Income

The effective income tax rate was 25.3% in 2020 and 25.0% in 2019.

As a result of the foregoing factors, consolidated net income was $90.4 million in 2020. This
represents an increase of $58.1 million from 2019 consolidated net income of $32.3 million.

Non-GAAP Financial Measure

In an effort to provide investors with additional information regarding its results, the Company
refers to various United States generally accepted accounting principles (“GAAP”) financial
measures and one non-GAAP financial measure, EBITDA, which management believes provides
useful information to investors. This non-GAAP measure may not be comparable to similarly
titled measures being disclosed by other companies. In addition, the Company believes that the
non-GAAP financial measure should be considered in addition to, and not in lieu of, GAAP
financial measures. The Company believes that EBITDA is useful to understanding its operating


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results and the ongoing performance of its underlying business, as EBITDA provides information
on the Company’s ability to meet its capital expenditure and working capital requirements, and is
also an indicator of profitability. The Company believes that this reporting provides better
transparency and comparability to its operating results. The Company uses both GAAP and non-
GAAP financial measures to evaluate its financial performance.

                             Non-GAAP Reconciliation – EBITDA

EBITDA
(Unaudited, dollars in thousands)

 Year ended December 31,                                                   2020           2019

 Net income                                                             $90,398       $32,291

 Income tax expense                                                     30,583         10,736
 Depreciation and amortization expense                                  27,576         29,331
 Interest expense                                                          191            192
 Interest income                                                        (1,126)        (2,594)
 EBITDA                                                               $147,622        $69,956

EBITDA is defined as earnings before interest, taxes, and depreciation and amortization. The
Company calculates this by adding the amount of interest expense, income tax expense and
depreciation and amortization expenses that have been deducted from net income back into net
income, and subtracting the amount of interest income that was included in net income from net
income to arrive at EBITDA. The Company’s EBITDA calculation also excludes any one-time
non-cash, non-operating expense.




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Quarterly Data

To supplement the summary annual unit data and discussion above, the same data for the last eight
quarters follows:

                                                                2020
                                                Q4             Q3             Q2            Q1
 Units Ordered                             733,200        935,200        746,600       626,700
 Units Produced                            491,000        430,400        374,400       363,300
 Units Shipped                             493,000        430,700        395,100       398,900
 Estimated Units Sold from
 Distributors to Retailers                 513,100        457,400        501,600       476,800
 Total Adjusted NICS Background
 Checks                                  5,626,000      5,165,000      5,452,000     4,841,000
 Average Unit Sales Price                     $342           $337           $328          $285
 Units – Backlog                         1,511,900      1,271,700        767,200       415,700
 Units – Company Inventory                   8,800         10,700         11,100        31,900
 Units – Distributor Inventory (5)          39,200         59,300         86,000       192,500


                                                                2019
                                                Q4             Q3             Q2            Q1
 Units Ordered                             413,900        362,200        257,900       327,100
 Units Produced                            355,000        286,500        297,900       374,000
 Units Shipped                             387,500        328,400        288,300       322,000
 Estimated Units Sold from
 Distributors to Retailers                 397,000        295,100        316,300       347,100
 Total Adjusted NICS Background
 Checks                                  4,001,000      2,956,000      2,828,000     3,414,000
 Average Unit Sales Price                     $269           $286           $329          $351
 Units – Backlog                           187,900        161,500        127,700       158,100
 Units – Company Inventory                  67,400        100,000        141,900       132,300
 Units – Distributor Inventory (5)         270,400        280,000        246,700       274,700



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(5)     Distributor ending inventory as provided by the independent distributors of the
        Company’s products.

(in millions except average sales price, net of Federal Excise Tax)


                                                                         2020
                                                           Q4            Q3        Q2        Q1

      Orders Received                                   $277.1        $284.0    $228.8    $203.0

      Average Sales Price of Orders Received             $352          $304      $306      $324

      Ending Backlog                                    $516.6        $410.1    $255.6    $142.7

      Average Sales Price of Ending Backlog              $342          $322      $333      $343


                                                                         2019
                                                           Q4            Q3        Q2        Q1

      Orders Received                                   $121.5        $102.3     $70.3    $104.3

      Average Sales Price of Orders Received             $294          $283      $273      $319

      Ending Backlog                                     $57.8         $44.7     $37.8     $58.9

      Average Sales Price of Ending Backlog              $308          $277      $296      $372




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Fourth Quarter Gross Profit Analysis

The gross margin for the fourth quarter of 2020 and 2019 was 37.9% and 23.6%, respectively.
Details of the gross margin are illustrated below:

 (in thousands)
  Three Months Ended December 31,                         2020                          2019

  Net sales                                      $169,260         100.0%       $105,139          100.0%

  Cost of products sold, before LIFO,
  overhead and labor rate adjustments to
  inventory, and product liability                104,833          61.9%          81,462           77.4%


  LIFO expense (income)                                685          0.4%            (976)         (0.9)%

  Overhead rate adjustments to inventory              (686)        (0.4)%           (214)         (0.2)%

  Labor rate adjustments to inventory                  (42)              -            (18)                -

  Product liability                                   276           0.2%             103               0.1%

  Total cost of products sold                     105,066          62.1%          80,357           76.4%

  Gross profit                                   $ 64,194          37.9%        $ 24,782           23.6%


Note: For a discussion of the captions in the above table, please see the “Cost of Products Sold and
Gross Profit” discussion above.




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Results of Operations - 2019

Year ended December 31, 2019, as compared to year ended December 31, 2018:

Annual Summary Unit Data

Firearms unit data for orders, production, shipments and ending inventory, and castings setups (a
measure of foundry production) are as follows:

                                                       2019             2018        2017

Units Ordered                                     1,361,100      1,531,100      1,298,800

Units Produced                                    1,313,400      1,610,300      1,610,900

Units Shipped                                     1,326,200      1,633,000      1,665,300

Average Sales Price                                    $306             $300        $311

Units – Backlog                                      187,900       153,000       254,900

Units – Company Inventory                             67,400           80,300    102,900

Units – Distributor Inventory (1)                    270,400       299,700       321,300

Castings Setups                                       62,548           83,401     91,715


Orders Received and Ending Backlog

(in millions except average sales price, net of Federal Excise Tax):

                                                       2019             2018        2017

Orders Received                                       $398.4           $430.0     $386.2

Average Sales Price of Orders Received (2)             $293             $281        $297

Ending Backlog                                         $57.8            $55.6      $75.4

Average Sales Price of Ending Backlog (2)              $308             $364        $296

   (1)    Distributor ending inventory as provided by the independent distributors of the
          Company’s products.
   (2)    Average sales price for orders received and ending backlog is net of Federal Excise
          Tax of 10% for handguns and 11% for long guns.

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Product Demand

The estimated sell-through of the Company’s products from the independent distributors to
retailers in 2019 decreased 18% from 2018. For the same period, the National Instant Criminal
Background Check System (“NICS”) background checks (as adjusted by the National Shooting
Sports Foundation (“NSSF”)) increased 1%. The greater reduction in the sell-through of the
Company’s products relative to adjusted NICS background checks may be attributable to the
following:

                More aggressive promotions, discounts, rebates and the extension of payment terms
                 offered by our competitors,
                The loss of a formerly significant distributor that ultimately filed for bankruptcy
                 protection in June 2019 and the market disruption caused by the subsequent
                 liquidation of its inventory of Ruger products,
                The loss of three additional smaller distributors in the second half of 2019,
                An apparent increase in sales of used firearms at retail, which are captured by
                 adjusted NICS checks, and
                Decreased retailer inventories as the anticipation of further discounting continues
                 to encourage cautious buying behavior by retailers.

New products represented $102.0 million or 26% of firearms sales in 2019, compared to $145.6
million or 30% of firearms sales in 2018. New product sales include only major new products that
were introduced in the past two years. In 2019, new products included the Pistol Caliber Carbine,
the Wrangler, the Ruger-57, the Precision Rimfire Rifle, the AR pistol, the Security-9 pistol, the
LCP II in .22, and the EC9s pistol.

Estimated sell-through from distributors to retailers and total adjusted NICS background checks:

                                                            2019           2018           2017

   Estimated Units Sold from Distributors to
   Retailers (1)                                          1,355,500      1,654,600       1,663,100

   Total Adjusted NICS Background Checks (2)             13,199,000     13,116,000     13,967,800

       (1)       The estimates for each period were calculated by taking the beginning inventory at
                 the distributors, plus shipments from the Company to distributors during the period,
                 less the ending inventory at distributors. These estimates are only a proxy for actual
                 market demand as they:

                         Rely on data provided by independent distributors that are not verified by
                          the Company,
                         Do not consider potential timing issues within the distribution channel,
                          including goods-in-transit, and
                         Do not consider fluctuations in inventory at retail.


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       (2)    NICS background checks are performed when the ownership of most firearms,
              either new or used, is transferred by a Federal Firearms Licensee. NICS
              background checks are also performed for permit applications, permit renewals,
              and other administrative reasons.

              The adjusted NICS data presented above was derived by the NSSF by subtracting
              NICS checks that are not directly related to the sale of a firearm, including checks
              used for concealed carry (“CCW”) permit application checks as well as checks on
              active CCW permit databases.

              Adjusted NICS data can be impacted by changes in state laws and regulations and
              any directives and interpretations issued by governmental agencies. For example,
              the use of state issued permits to carry firearms, in lieu of NICS background checks,
              for certain transactions was significantly curtailed in 2019. This resulted in
              increases in adjusted NICS background checks for Alabama and Minnesota of 66%
              and 33%, respectively. Excluding Alabama and Minnesota, adjusted NICS
              decreased 1% in 2019.

Production

The Company reviews the estimated sell-through from the independent distributors to retailers, as
well as inventory levels at the independent distributors and at the Company, semi-monthly to plan
production levels and manage inventories. These reviews resulted in a decrease in total unit
production of 18% in 2019 compared to 2018.

Inventories

The Company’s finished goods inventory decreased by 12,900 units during 2019.

Distributor inventories of the Company’s products decreased by 29,300 units during 2019 and
approximate a reasonable level to support rapid fulfillment of retailer demand. In the aggregate,
total Company and distributor inventories decreased by 11% in 2019.

Inventory data follows:

                                                             December 31,
                                                    2019         2018             2017

       Units – Company Inventory                 67,400          80,300        102,900

       Units – Distributor Inventory (3)        270,400        299,700         321,300

       Total inventory (4)                      337,800        380,000         424,200




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(3)   Distributor ending inventory as provided by the independent distributors of the
      Company’s products. These numbers do not include goods-in-transit inventory that
      has been shipped from the Company but not yet received by the distributors.
(4)   This total does not include inventory at retailers. The Company does not have
      access to data on retailer inventories.




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Quarterly Summary Unit Data

To supplement the summary annual unit data and discussion above, the same data for the last eight
quarters follows:

                                                                2019
                                                Q4             Q3             Q2            Q1
 Units Ordered                             413,900        362,200        257,900       327,100
 Units Produced                            355,000        286,500        297,900       374,000
 Units Shipped                             387,500        328,400        288,300       322,000
 Estimated Units Sold from
 Distributors to Retailers                 397,000        295,100        316,300       347,100
 Total Adjusted NICS Background
 Checks                                  4,001,000      2,956,000      2,828,000     3,414,000
 Average Unit Sales Price                     $269           $286           $329          $351
 Units – Backlog                           187,900        161,500        127,700       158,100
 Units – Company Inventory                  67,400        100,000        141,900       132,300
 Units – Distributor Inventory (5)         270,400        280,000        246,700       274,700


                                                                2018
                                                Q4             Q3             Q2            Q1
 Units Ordered                             312,800        237,800        344,600       635,900
 Units Produced                            402,400        404,200        415,200       388,500
 Units Shipped                             394,800        386,200        411,600       440,400
 Estimated Units Sold from
 Distributors to Retailers                 400,000        364,000        381,100       509,500
 Total Adjusted NICS Background
 Checks                                  3,813,000      2,708,000      2,863,000     3,731,000
 Average Unit Sales Price                     $304           $295           $309          $295
 Units – Backlog                           153,000        235,000        383,400       450,400
 Units – Company Inventory                  80,300         72,700         54,700        51,000
 Units – Distributor Inventory (5)         299,700        304,800        282,700       252,300



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    (5) Distributor ending inventory as provided by the independent distributors of the
        Company’s products.

(in millions except average sales price, net of Federal Excise Tax)

                                                                         2019
                                                            Q4           Q3        Q2        Q1

     Orders Received                                    $121.5        $102.3     $70.3   $104.3

     Average Sales Price of Orders Received               $294         $283      $273      $319

     Ending Backlog                                      $57.8         $44.7     $37.8    $58.9

     Average Sales Price of Ending Backlog                $308         $277      $296      $372


                                                                         2018
                                                            Q4           Q3        Q2        Q1

     Orders Received                                     $92.9         $66.6     $95.4   $175.1

     Average Sales Price of Orders Received               $297         $280      $277      $275

     Ending Backlog                                      $55.6         $81.5    $125.0   $149.2

     Average Sales Price of Ending Backlog                $364         $347      $326      $331


Net Sales

Consolidated net sales were $410.5 million in 2019. This represents a decrease of $85.1 million
or 17.2% from 2018 consolidated net sales of $495.6 million.

Firearms segment net sales were $406.3 million in 2019. This represents a decrease of $84.3
million or 17.2% from 2018 firearms net sales of $490.6 million. Firearms unit shipments
decreased 19% in 2019.

Casting segment net sales were $4.2 million in 2019. This represents a decrease of $0.8 million
or 16.9% from 2018 casting sales of $5.0 million.

Cost of Products Sold and Gross Profit

Consolidated cost of products sold was $311.0 million in 2019. This represents a decrease of $50.3
million or 13.9% from 2018 consolidated cost of products sold of $361.3 million.



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The gross margin was 24.3% in 2019. This represents a decrease from 27.1% in 2018 as illustrated
below:

 (in thousands)
  Year Ended December 31,                                  2019                       2018

  Net sales                                       $410,506          100%       $495,635      100.0%

  Cost of products sold, before LIFO,
  overhead and labor rate adjustments to
  inventory, product liability, and product
  safety bulletins and recalls                       313,769        76.4%       354,997       71.6%

  LIFO expense                                          796          0.2%          1,882       0.4%

  Overhead rate adjustments to inventory              (3,710)      (0.9)%         1,777        0.4%

  Labor rate adjustments to inventory                   (415)      (0.1)%           193                -

  Product liability                                     718          0.2%         1,514        0.3%

  Product safety bulletins and recalls                  (200)      (0.1)%           914        0.2%

  Total cost of products sold                        310,958        75.7%       361,277       72.9%

  Gross profit                                       $99,548        24.3%      $134,358       27.1%

Cost of products sold, before LIFO, overhead and labor rate adjustments to inventory, product
liability, and product safety bulletins and recalls- In 2019, cost of products sold, before LIFO,
overhead and labor rate adjustments to inventory, product liability and safety bulletins and recalls
increased 4.8% as a percentage of sales compared to 2018. This increase was due primarily to the
decrease in sales and production which resulted in unfavorable deleveraging of fixed costs.

LIFO- The Company recognized LIFO expense in 2019 and 2018 of $0.8 million and $1.9 million,
respectively, which increased cost of products sold in both periods.

Overhead Rate Change- The net impact on inventory in 2019 and 2018 from the change in the
overhead rates used to absorb overhead expenses into inventory was an increase of $3.7 million
and a decrease of $1.8 million, respectively, reflecting decreased overhead efficiency in 2019 and
increased overhead efficiency in 2018. The increase in inventory value in 2019 resulted in a
corresponding decrease to cost of products sold and the decrease in inventory value in 2018
resulted in a corresponding increase to cost of products sold.




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Labor Rate Adjustments- In 2019, the change in inventory value resulting from the change in the
labor rates used to absorb labor expenses into inventory was an increase of $0.4 million, reflecting
decreased labor efficiency. This increase in inventory value resulted in a corresponding decrease
to cost of products sold. In 2018, the change in inventory value resulting from the change in the
labor rates used to absorb labor expenses into inventory was a decrease of $0.2 million, reflecting
increased labor efficiency. This decrease in inventory value resulted in a corresponding increase
to cost of products sold.

Product Liability- This expense includes the cost of outside legal fees, insurance, and other
expenses incurred in the management and defense of product liability matters. These costs totaled
$0.7 million and $1.5 million in 2019 and 2018, respectively. See Note 20 in the notes to the
financial statements “Contingent Liabilities” for further discussion of the Company’s product
liability.

Product Safety Bulletins and Recalls- In October 2018, the Company issued a safety bulletin
announcing that some Ruger American Pistols chambered in 9mm may exhibit premature wear of
the locking surfaces between the slide and barrel. The Company offered a free retrofit to customers
of affected pistols and recorded a $1.0 million expense in the third quarter of 2018, which was the
expected total cost of the safety bulletin. In 2019, the estimated costs remaining for the product
safety bulletin was reduced, which decreased cost of sales by $0.2 million in 2019.

Gross Profit- Gross profit was $99.5 million or 24.3% of sales in 2019. This is a decrease of $34.9
million from 2018 gross profit of $134.4 million or 27.1% of sales in 2018.

Selling, General and Administrative

Selling, general and administrative expenses were $60.1 million in 2019, a decrease of $7.3 million
from $67.4 million in 2018, and an increase from 13.6% of sales in 2018 to 14.6% of sales in 2019.
This decrease was primarily attributable to reductions in firearms promotional expense and
incentive compensation.

Other Operating Income, net

Other operating income, net was de minimis in 2019 and 2018.

Operating Income

Operating income was $39.4 million or 9.6% of sales in 2019. This is a decrease of $27.6 million
from 2018 operating income of $67.0 million or 13.5% of sales.

Royalty Income

Royalty income was $0.7 million in 2019 and $0.8 million in 2018.




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Interest Income

Interest income was $2.6 million in 2019, an increase of $2.4 million from $0.2 million in 2018,
due to interest income on short-term investments in 2019.

Interest Expense

Interest expense was $0.2 million and $0.3 million in 2019 and 2018, respectively.

Other Income, Net

Other income, net was $0.6 million in 2019, a decrease of $0.4 million from $1.0 million in 2018.

Income Taxes and Net Income

The effective income tax rate was 25.0% in 2019 and 25.9% in 2018.

As a result of the foregoing factors, consolidated net income was $32.3 million in 2019. This
represents a decrease of $18.6 million from 2018 consolidated net income of $50.9 million.

Non-GAAP Financial Measure

In an effort to provide investors with additional information regarding its results, the Company
refers to various United States generally accepted accounting principles (“GAAP”) financial
measures and one non-GAAP financial measure, EBITDA, which management believes provides
useful information to investors. This non-GAAP measure may not be comparable to similarly
titled measures being disclosed by other companies. In addition, the Company believes that the
non-GAAP financial measure should be considered in addition to, and not in lieu of, GAAP
financial measures. The Company believes that EBITDA is useful to understanding its operating
results and the ongoing performance of its underlying business, as EBITDA provides information
on the Company’s ability to meet its capital expenditure and working capital requirements, and is
also an indicator of profitability. The Company believes that this reporting provides better
transparency and comparability to its operating results. The Company uses both GAAP and non-
GAAP financial measures to evaluate its financial performance.




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                              Non-GAAP Reconciliation – EBITDA
EBITDA
(Unaudited, dollars in thousands)

 Year ended December 31,                                                       2019           2018

 Net income                                                                $32,291       $ 50,933

 Income tax expense                                                         10,736         17,781
 Depreciation and amortization expense                                      29,331         31,972
 Interest expense                                                              192            330
 Interest income                                                            (2,594)          (211)
 EBITDA                                                                    $69,956       $100,805

EBITDA is defined as earnings before interest, taxes, and depreciation and amortization. The
Company calculates this by adding the amount of interest expense, income tax expense and
depreciation and amortization expenses that have been deducted from net income back into net
income, and subtracting the amount of interest income that was included in net income from net
income to arrive at EBITDA. The Company’s EBITDA calculation also excludes any one-time
non-cash, non-operating expense.


Financial Condition

Liquidity

At December 31, 2020, the Company had cash and cash equivalents of $20.1 million and $121.0
million in short term investments. Our pre-LIFO working capital of $200.6 million, less the LIFO
reserve of $48.0 million, resulted in working capital of $152.6 million and a current ratio of 2.9 to
1.

Operations

Cash provided by operating activities was $143.8 million, $49.6 million, and $119.8 million in
2020, 2019, and 2018, respectively. The increase in cash provided in 2020 compared to 2019 is
primarily attributable to significantly increased earnings in 2020, decreased inventories in 2020,
and increased employee compensation and benefit accruals in 2020.

The decrease in cash provided in 2019 compared to 2018 is primarily attributable to decreased
earnings in 2019, an increase in accounts receivable in 2019 compared to a significant decrease in
accounts receivable in 2018, and decreases in accounts payable and accrued expenses in 2019
compared to increases in those accounts in 2018.

Third parties supply the Company with various raw materials for its firearms and castings, such as
fabricated steel components, walnut, birch, beech, maple and laminated lumber for rifle stocks,
wax, ceramic material, metal alloys, various synthetic products and other component parts. There


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is a limited supply of these materials in the marketplace at any given time, which can cause the
purchase prices to vary based upon numerous market factors. If market conditions result in a
significant prolonged inflation of certain prices or if adequate quantities of raw materials cannot
be obtained, the Company’s manufacturing processes could be interrupted and the Company’s
financial condition or results of operations could be materially adversely affected.

Investing and Financing

Capital expenditures were $24.2 million, $20.3 million, and $10.5 million in 2020, 2019, and 2018,
respectively. In 2021, the Company expects capital expenditures to approximate $20 million,
much of which will relate to tooling and fixtures for new product introductions and to upgrade and
modernize manufacturing equipment. Due to market conditions and business circumstances,
actual capital expenditures could vary significantly from the budgeted amount. The Company
finances, and intends to continue to finance, all of these activities with funds provided by
operations and current cash.

On November 23, 2020, the Company acquired substantially all of the Marlin Firearms assets,
consisting of inventory, machinery and equipment, and intangibles. The agreement to purchase
these assets emanated from the Remington Outdoor Company, Inc. bankruptcy and was approved
by the United States Bankruptcy Court for the Northern District of Alabama on September 30,
2020. The purchase price of approximately $28.3 million was paid with available cash on hand.
These assets have been moved to the Company’s facilities where manufacturing cells that will
produce Marlin rifles will be established. Shipments of Marlin rifles are anticipated in the latter
half of 2021.

As of December 31, 2020, the Company had $121.0 million of United States Treasury instruments
which mature within one year.

In 2019, the Company repurchased 44,500 shares of its common stock for $2.0 million in the open
market. The average price per share purchased was $44.83. These purchases were funded with
cash on hand. No shares were repurchased in 2018 and 2020.

At December 31, 2020, $86.7 million remained authorized for future share repurchases.

The Company paid dividends totaling $113.9 million, $14.3 million, and $19.2 million in 2020,
2019, and 2018, respectively. The increase in the dividends paid in 2020 is attributable to a $5.00
per share special dividend paid in August 2020, and increased earnings compared to prior years.
The quarterly dividend varies every quarter because the Company pays a percentage of earnings
rather than a fixed amount per share. The Company’s practice is to pay a dividend of
approximately 40% of net income.

On February 12, 2021, the Company’s Board of Directors authorized a dividend of 71¢ per share
to shareholders of record on March 12, 2021. The payment of future dividends depends on many
factors, including internal estimates of future performance, then-current cash, and the Company’s
need for funds.



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The Company provides supplemental discretionary contributions to substantially all employees’
individual 401(k) accounts.

Based on its unencumbered assets, the Company believes it has the ability to raise cash through
issuance of short-term or long-term debt. The Company’s unsecured $40 million credit facility,
which expires on September 30, 2021, remained unused at December 31, 2020 and the Company
has no debt.

Contractual Obligations

The table below summarizes the Company’s significant contractual obligations at December 31,
2020, and the effect such obligations are expected to have on the Company’s liquidity and cash
flows in future periods. This table excludes amounts already recorded on the Company’s balance
sheet as current liabilities at December 31, 2020.

“Purchase Obligations” as used in the below table includes all agreements to purchase goods or
services that are enforceable and legally binding on the Company and that specify all significant
terms, including: fixed or minimum quantities to be purchased; fixed, minimum or variable price
provisions; and the approximate timing of the transaction. Certain of the Company’s purchase
orders or contracts for the purchase of raw materials and other goods and services that may not
necessarily be enforceable or legally binding on the Company are also included in “Purchase
Obligations” in the table, and, therefore, certain of the Company’s purchase orders or contracts
included in the table may represent authorizations to purchase rather than legally binding
agreements. The Company expects to fund all of these commitments with cash flows from
operations and current cash.



                         Payment due by period (in thousands)
                                           Less than                                    More
 Contractual Obligations         Total       1 year    1-3 years 3-5 years             than 5
                                                                                       Years
 Long-Term Debt Obligations                 -               -         -          -            -
 Capital Lease Obligations                  -               -         -          -            -
 Operating Lease Obligations          $ 2,831         $ 559        $457       $375       $1,440
 Purchase Obligations                 $70,143         $70,143         -          -            -
 Other Long Term Liabilities
 Reflected on the Registrant’s
 Balance sheet Under GAAP                    -              -          -           -            -

 Total                                $72,974         $70,702      $457       $375       $1,440

The expected timing of payment of the obligations discussed above is estimated based on current
information. Timing of payments and actual amounts paid may be different depending on the time
of receipt of goods or services or changes to agreed-upon amounts for some obligations.



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Firearms Legislation and Litigation

See Item 1A - Risk Factors and Note 20 to the financial statements which are included in the
Annual Report on Form 10-K for a discussion of firearms legislation and litigation.

Other Operational Matters

In the normal course of its manufacturing operations, the Company is subject to occasional
governmental proceedings and orders pertaining to workplace safety, firearms serial number
tracking and control, waste disposal, air emissions and water discharges into the environment. The
Company believes that it is generally in compliance with applicable Bureau of Alcohol, Tobacco,
Firearms & Explosives, environmental, and safety regulations and the outcome of any proceedings
or orders will not have a material adverse effect on the financial position or results of operations
of the Company. If these regulations become more stringent in the future and we are not able to
comply with them, such noncompliance could have a material adverse impact on the Company.

Since 2018, two of the Company’s independent domestic wholesale distributors filed for
bankruptcy protection. Additionally, three of the Company’s smaller independent domestic
wholesale distributors discontinued their firearms distribution operations in 2019. Currently, there
are 14 domestic distributors. Additionally, the Company has 41 and 26 distributors servicing the
export and law enforcement markets, respectively.

The Company self-insures a significant amount of its product liability, workers’ compensation,
medical, and other insurance. It also carries significant deductible amounts on various insurance
policies.

The Company expects to realize its deferred tax assets through tax deductions against future
taxable income.

Critical Accounting Policies and Estimates

The preparation of financial statements in accordance with accounting principles generally
accepted in the United States requires management to make assumptions and estimates that affect
the reported amounts of assets and liabilities as of the balance sheet date and net sales and expenses
recognized and incurred during the reporting period then ended. The Company bases estimates on
prior experience, facts and circumstances, and other assumptions, including those reviewed with
actuarial consultants and independent counsel, when applicable, that are believed to be reasonable.
However, actual results may differ from these estimates.

The Company believes the determination of its product liability accrual is a critical accounting
policy. The Company’s management reviews every lawsuit and claim and is in contact with
independent and corporate counsel on an ongoing basis. The provision for product liability claims
is based upon many factors, which vary for each case. These factors include the type of claim,
nature and extent of injuries, historical settlement ranges, jurisdiction where filed, and advice of
counsel. An accrual is established for each lawsuit and claim, when appropriate, based on the
nature of each such lawsuit or claim.



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Amounts are charged to product liability expense in the period in which the Company becomes
aware that a claim or, in some instances a threat of a claim, has been made when potential losses
or costs of defense are probable and can be reasonably estimated. Such amounts are determined
based on the Company’s experience in defending similar claims. Occasionally, charges are made
for claims made in prior periods because the cumulative actual costs incurred for that claim, or
reasonably expected to be incurred in the future, exceed amounts already provided with respect to
such claims. Likewise, credits may be taken if cumulative actual costs incurred for that claim, or
reasonably expected to be incurred in the future, are less than amounts previously provided.

While it is not possible to forecast the outcome of litigation or the timing of related costs, in the
opinion of management, after consultation with independent and corporate counsel, there is a
remote likelihood that litigation, including punitive damage claims, will have a material adverse
effect on the financial position of the Company, but such litigation may have a material impact on
the Company’s financial results and cash flows for a particular period.

The Company believes the valuation of its inventory and the related excess and obsolescence
reserve is also a critical accounting policy. Inventories are carried at the lower of cost, principally
determined by the last-in, first-out (LIFO) method, or market. An actual valuation of inventory
under the LIFO method is made at the end of each year based on the inventory levels and prevailing
inventory costs existing at that time.

The Company determines its excess and obsolescence reserve by projecting the year in which
inventory will be consumed into a finished product. Given ever-changing market conditions,
customer preferences and the anticipated introduction of new products, it does not seem prudent
to carry inventory at full cost beyond that needed during the next 36 months.

Recent Accounting Pronouncements

In February 2016, the FASB issued ASU 2016-02, Leases Topic 842 (“ASC 842”), which amends
the existing accounting standards for leases. ASC 842 requires lessees to record a right-of-use asset
and a corresponding lease liability on the balance sheet for all leases (with the exception of short-
term leases) and disclose key information about leasing arrangements, whereas under current
standards, the Company’s operating leases were not recognized on its consolidated balance sheet.
Leases will be classified as finance or operating, with classification affecting the pattern and
classification of expense recognition in the income statement. Topic 842 was subsequently
amended by ASU No. 2018-01, Land Easement Practical Expedient for Transition to Topic 842;
ASU No. 2018-10, Codification Improvements to Topic 842, Leases; and ASU No. 2018-11,
Targeted Improvements. ASC 842 is effective for years beginning after December 15, 2018,
including interim periods within those fiscal years, and is to be applied using either a modified
retrospective approach, or an optional transition method which allows an entity to apply the new
standard at the adoption date with a cumulative-effect adjustment to the opening balance of
retained earnings in the period of adoption. The Company adopted ASC 842 in the first quarter of
2019 using this optional transition method. The new standard also provides practical expedients
for an entity’s ongoing accounting. The Company elected the short-term lease recognition
exemption for all leases that qualified. The Company elected the practical expedient to not
separate lease and non-lease components for all of its leases. The right-of-use assets and lease


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liabilities for the lease portfolio recorded on its consolidated balance sheet as of January 1, 2019
was about $2 million, primarily related to real estate. The adoption of this pronouncement did not
impact the Company’s consolidated statements of operations or its consolidated statement of cash
flows.

In June 2016, the FASB issued ASU 2016-13, Measurement of Credit Losses on Financial
Instruments. The new guidance requires financial instruments measured at amortized cost basis
to be presented at the net amount expected to be collected through application of the current
expected credit losses model. The model requires an estimate of the credit losses expected over
the life of an exposure or pool of exposures. The income statement will reflect the measurement
of credit losses for newly recognized financial assets, as well as the expected increases or decreases
of expected credit losses that have taken place during the period. This pronouncement is effective
for fiscal years beginning after Dec. 15, 2019. The Company has completed its assessment and
adopted the new guidance effective January 1, 2020. The adoption of the new guidance did not
have a material impact to the Company.

Forward-Looking Statements and Projections

The Company may, from time to time, make forward-looking statements and projections
concerning future expectations. Such statements are based on current expectations and are subject
to certain qualifying risks and uncertainties, such as market demand, sales levels of firearms,
anticipated castings sales and earnings, the need for external financing for operations or capital
expenditures, the results of pending litigation against the Company, the impact of future firearms
control and environmental legislation and accounting estimates, any one or more of which could
cause actual results to differ materially from those projected. Words such as “expect,” “believe,”
“anticipate,” “intend,” “estimate,” “will,” “should,” “could” and other words and terms of similar
meaning, typically identify such forward-looking statements. Readers are cautioned not to place
undue reliance on these forward-looking statements, which speak only as of the date made. The
Company undertakes no obligation to publish revised forward-looking statements to reflect events
or circumstances after the date such forward-looking statements are made or to reflect the
occurrence of subsequent unanticipated events.




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ITEM 7A—QUANTITATIVE AND QUALITATIVE DISCLOSURES ABOUT MARKET
        RISK

The Company is exposed to changing interest rates on its investments, which consist primarily of
United States Treasury instruments with short-term (less than one year) maturities and cash. The
interest rate market risk implicit in the Company's investments at any given time is low, as the
investments mature within short periods and the Company does not have significant exposure to
changing interest rates on invested cash.

The Company has not undertaken any actions to cover interest rate market risk and is not a party
to any interest rate market risk management activities.

A hypothetical 100 basis point change in market interest rates over the next year would not
materially impact the Company’s earnings or cash flows. A hypothetical 100 basis point change
in market interest rates would not have a material effect on the fair value of the Company’s
investments.




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ITEM 8—FINANCIAL STATEMENTS AND SUPPLEMENTARY DATA


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Report of Independent Registered Public Accounting Firm

To the Shareholders and the Board of Directors of Sturm, Ruger & Company, Inc. and Subsidiary

Opinion on the Internal Control Over Financial Reporting
We have audited Sturm, Ruger & Company, Inc. and Subsidiary's (the Company) internal control over financial reporting
as of December 31, 2020, based on criteria established in Internal Control—Integrated Framework issued by the
Committee of Sponsoring Organizations of the Treadway Commission in 2013. In our opinion, the Company
maintained, in all material respects, effective internal control over financial reporting as of December 31, 2020, based on
criteria established in Internal Control—Integrated Framework issued by the Committee of Sponsoring Organizations of
the Treadway Commission in 2013.

We have also audited, in accordance with the standards of the Public Company Accounting Oversight Board (United
States) (PCAOB), the consolidated balance sheets of the Company as of December 31, 2020 and 2019, and the related
consolidated statements of income and comprehensive income, stockholders’ equity, and cash flows for each of the three
years in the period ended December 31, 2020, and our report dated February 17, 2021 expressed an unqualified opinion.

Basis for Opinion
The Company’s management is responsible for maintaining effective internal control over financial reporting and for its
assessment of the effectiveness of internal control over financial reporting in the accompanying Management’s Report on
Internal Control over Financial Reporting. Our responsibility is to express an opinion on the Company's internal control
over financial reporting based on our audit. We are a public accounting firm registered with the PCAOB and are required
to be independent with respect to the Company in accordance with U.S. federal securities laws and the applicable rules and
regulations of the Securities and Exchange Commission and the PCAOB.

We conducted our audit in accordance with the standards of the PCAOB. Those standards require that we plan and
perform the audit to obtain reasonable assurance about whether effective internal control over financial reporting was
maintained in all material respects. Our audit included obtaining an understanding of internal control over financial
reporting, assessing the risk that a material weakness exists, and testing and evaluating the design and operating
effectiveness of internal control based on the assessed risk. Our audit also included performing such other procedures as
we considered necessary in the circumstances. We believe that our audit provides a reasonable basis for our opinion.

Definition and Limitations of Internal Control Over Financial Reporting
A company's internal control over financial reporting is a process designed to provide reasonable assurance regarding the
reliability of financial reporting and the preparation of financial statements for external purposes in accordance with
generally accepted accounting principles. A company's internal control over financial reporting includes those policies
and procedures that (1) pertain to the maintenance of records that, in reasonable detail, accurately and fairly reflect the
transactions and dispositions of the assets of the company; (2) provide reasonable assurance that transactions are recorded
as necessary to permit preparation of financial statements in accordance with generally accepted accounting principles, and
that receipts and expenditures of the company are being made only in accordance with authorizations of management and
directors of the company; and (3) provide reasonable assurance regarding prevention or timely detection of unauthorized
acquisition, use, or disposition of the company's assets that could have a material effect on the financial statements.

Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements.
Also, projections of any evaluation of effectiveness to future periods are subject to the risk that controls may become
inadequate because of changes in conditions, or that the degree of compliance with the policies or procedures may
deteriorate.

/s/RSM US LLP
Stamford, Connecticut
February 17, 2021




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Report of Independent Registered Public Accounting Firm
To the Shareholders and the Board of Directors of Sturm, Ruger & Company, Inc. and Subsidiary

Opinion on the Financial Statements
We have audited the accompanying consolidated balance sheets of Sturm, Ruger & Company, Inc. and
Subsidiary (the Company) as of December 31, 2020 and 2019, and the related consolidated statements of
income and comprehensive income, stockholders’ equity, and cash flows for each of the three years in the
period ended December 31, 2020, and the related notes and schedule (collectively, the financial
statements). In our opinion, the financial statements referred to above present fairly, in all material
respects, the financial position of the Company as of December 31, 2020 and 2019, and the results of its
operations and its cash flows for each of the three years in the period ended December 31, 2020, in
conformity with accounting principles generally accepted in the United States of America.

We also have audited, in accordance with the standards of the Public Company Accounting Oversight
Board (United States) (PCAOB), the Company’s internal control over financial reporting as of December
31, 2020, based on criteria established in Internal Control—Integrated Framework issued by the
Committee of Sponsoring Organizations of the Treadway Commission in 2013, and our report dated
February 17, 2021 expressed an unqualified opinion on the effectiveness of the Company’s internal
control over financial reporting.

Basis for Opinion
These financial statements are the responsibility of the Company's management. Our responsibility is to
express an opinion on the Company’s financial statements based on our audits. We are a public
accounting firm registered with the PCAOB and are required to be independent with respect to the
Company in accordance with the U.S. federal securities laws and the applicable rules and regulations of
the Securities and Exchange Commission and the PCAOB.

We conducted our audits in accordance with the standards of the PCAOB. Those standards require that
we plan and perform the audit to obtain reasonable assurance about whether the financial statements are
free of material misstatement, whether due to error or fraud. Our audits included performing procedures
to assess the risks of material misstatement of the financial statements, whether due to error or fraud, and
performing procedures that respond to those risks. Such procedures included examining, on a test basis,
evidence regarding the amounts and disclosures in the financial statements. Our audits also included
evaluating the accounting principles used and significant estimates made by management, as well as
evaluating the overall presentation of the financial statements. We believe that our audits provide a
reasonable basis for our opinion.

Critical Audit Matters
The critical audit matter communicated below is a matter arising from the current period audit of the
financial statements that was communicated or required to be communicated to the Audit Committee and
that: (1) relates to accounts or disclosures that are material to the financial statements and (2) involved
especially challenging, subjective, or complex judgments. The communication of critical audit matters
does not alter in any way our opinion on the financial statements, taken as a whole, and we are not, by
communicating the critical audit matter below, providing a separate opinion on the critical audit matter or
on the accounts or disclosures to which it relates.




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Inventory Reserves
As described in Notes 1 and 5 to the consolidated financial statements, the Company's consolidated net
inventories balance was $29.1 million as of December 31, 2020. The Company’s inventories are valued at
the lower of cost, determined by the last-in, first-out (LIFO) method, or market. The Company values its
inventory under the LIFO method at the end of each year based on the inventory levels and the prevailing
inventory costs existing at that time. The valuation of inventories requires management to make
significant assumptions, including the assessment of market value by inventory category considering
historical usage, future usage and market demand for their products.

We identified the LIFO inventory reserve as a critical audit matter because of the significant assumptions,
manual calculations and judgements used by management in the LIFO reserves. Auditing management’s
assumptions was complex and required a high degree of auditor judgement and subjectivity when
performing audit procedures and evaluating the audit evidence obtained.
Our audit procedures related to the Company’s LIFO inventory reserve included the following, among
others:
       We obtained an understanding of the relevant controls related to the LIFO inventory reserve and
        tested such controls for operating effectiveness, including controls related to the review of the
        significant assumptions related to expected future demand and historical sales.
       We tested management's process for determining the inventory reserves, including:
             o Tested the completeness, accuracy, and relevance of the underlying data used in
                 management's estimates of slow-moving and obsolete inventory and the LIFO reserve
             o Tested the calculations and application of management’s methodologies related to the
                 valuation estimate of the LIFO reserve.

/s/RSM US LLP

We have served as the Company's auditor since 2005.

Stamford, Connecticut
February 17, 2021




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Consolidated Balance Sheets
(Dollars in thousands, except per share data)


 December 31,                                                      2020         2019

 Assets

 Current Assets
 Cash and cash equivalents                                     $ 20,147     $ 35,420
 Short-term investments                                         121,007      129,488
 Trade receivables, net                                          57,876       52,640

 Gross inventories                                                80,487       79,011
   Less LIFO reserve                                             (48,016)     (47,137)
   Less excess and obsolescence reserve                           (3,394)     (3,573)
   Net inventories                                                29,077       28,301

 Prepaid expenses and other current assets                        6,266        3,467
 Total Current Assets                                           234,373      249,316

 Property, Plant, and Equipment                                  393,843      372,482
    Less allowances for depreciation                            (323,110)    (298,568)
    Net property, plant and equipment                             70,733       73,914

 Deferred income taxes                                             1,530        5,393
 Other assets                                                     41,622       20,338
 Total Assets                                                  $ 348,258    $ 348,961

See accompanying notes to consolidated financial statements.




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 December 31,                                                      2020         2019

 Liabilities and Stockholders’ Equity

 Current Liabilities

 Trade accounts payable and accrued expenses                   $ 37,078     $ 29,771
 Contract liabilities with customers (Note 3)                        84        9,623
 Product liability                                                1,052          735
 Employee compensation and benefits                              37,275       14,273
 Workers’ compensation                                            6,272        5,619
 Income taxes payable                                                 -        1,223
 Total Current Liabilities                                       81,761       61,244

 Lease liability (Note 8)                                          1,724        2,176
 Product liability accrual                                            74           83

 Contingent liabilities (Note 20)                                      -            -

 Stockholders’ Equity
 Common stock, non-voting, par value $1:
   Authorized shares – 50,000; none issued
 Common stock, par value $1:
   Authorized shares – 40,000,000
   2020 – 24,205,749 issued,
           17,495,851 outstanding
   2019 – 24,160,424 issued,
           17,450,526 outstanding                                24,206       24,160
 Additional paid-in capital                                      43,468       38,683
 Retained earnings                                              342,615      368,205
 Less: Treasury stock – at cost
    2020 – 6,709,898 shares
    2019 – 6,709,898 shares                                     (145,590)    (145,590)
 Total Stockholders’ Equity                                      264,699      285,458
 Total Liabilities and Stockholders’ Equity                    $ 348,258    $ 348,961

See accompanying notes to consolidated financial statements.




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Consolidated Statements of Income and Comprehensive Income
(In thousands, except per share data)


 Year ended December 31,                                          2020        2019        2018

 Net firearms sales                                            $565,863    $406,326    $490,607
 Net castings sales                                               3,005       4,180       5,028
 Total net sales                                                568,868     410,506     495,635

 Cost of products sold                                          377,427     310,958     361,277

 Gross profit                                                   191,441      99,548     134,358

 Operating Expenses:
   Selling                                                       33,332      29,775      35,111
   General and administrative                                    39,013      30,344      32,248
   Other operating expense (income), net                            (52)         54         (10)
 Total operating expenses                                        72,293      60,173      67,349

 Operating income                                               119,148      39,375      67,009

 Other income:
   Royalty income                                                   814         698         804
   Interest income                                                1,126       2,594         211
   Interest expense                                                (191)       (192)       (330)
   Other income, net                                                 84         552       1,020
 Total other income, net                                          1,833       3,652       1,705

 Income before income taxes                                     120,981      43,027      68,714

 Income taxes                                                    30,583      10,736      17,781

 Net income and comprehensive income                           $ 90,398    $ 32,291    $ 50,933


 Basic Earnings Per Share                                         $5.17       $1.85       $2.92

 Diluted Earnings Per Share                                       $5.09       $1.82       $2.88

 Cash Dividends Per Share                                         $6.51       $0.82       $1.10

See accompanying notes to consolidated financial statements.




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Consolidated Statements of Stockholders’ Equity
(Dollars in thousands)



                                                         Additional
                                       Common             Paid-in      Retained     Treasury
                                        Stock             Capital      Earnings      Stock       Total
 Balance at December 31, 2017            $24,092           $28,329      $321,323    $(143,595)   $230,149
     Net income                                                           50,933                   50,933
     Dividends paid                                                      (19,201)                 (19,201)
     Stock-based compensation                                5,809                                  5,809
     Vesting of RSU’s                                         (816)                                  (816)
     Common stock issued –
        compensation plans                     31               (31)                                    -
     Unpaid dividends accrued                                              (405)                     (405)
     Adoption of ASC 606 (Note 3)                                        (2,227)                   (2,227)
 Balance at December 31, 2018              24,123           33,291      350,423      (143,595)    264,242
     Net income                                                          32,291                    32,291
     Dividends paid                                                     (14,319)                  (14,319)
     Stock-based compensation                                6,330                                  6,330
     Vesting of RSU’s                                         (901)                                  (901)
     Common stock issued –
        compensation plans                     37               (37)                                    -
     Unpaid dividends accrued                                               (190)                    (190)
     Repurchase of 44,500 shares of
        common stock                                                                   (1,995)      (1,995)
 Balance at December 31, 2019              24,160           38,683       368,205     (145,590)    285,458
     Net income                                                           90,398                    90,398
     Dividends paid                                                     (113,896)                (113,896)
     Stock-based compensation                                 6,128                                  6,128
     Vesting of RSU’s                                        (1,297)                               (1,297)
     Common stock issued –
        compensation plans                     46               (46)                                    -
     Unpaid dividends accrued                                            (2,092)                   (2,092)
 Balance at December 31, 2020             $24,206          $43,468     $342,615     $(145,590)   $264,699

See accompanying notes to consolidated financial statements.




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Consolidated Statements of Cash Flows
(In thousands)


 Year ended December 31,                                                2020        2019        2018

 Operating Activities
    Net income                                                      $ 90,398    $ 32,291    $ 50,933
    Adjustments to reconcile net income to cash
    provided by operating activities, net of effects of
    acquisition:
        Depreciation and amortization                                 27,576      29,331      31,972
        Stock-based compensation                                       6,128       6,330       5,809
        Excess and obsolescence inventory reserve                          -       1,046        (185)
        (Gain) loss on sale of assets                                    (52)         54         (10)
        Deferred income taxes                                          3,863      (2,424)     (4,371)
        Changes in operating assets and liabilities:
             Trade receivables                                        (5,236)     (7,609)     15,051
             Inventories                                              10,624       2,073       8,479
             Trade accounts payable and accrued expenses               7,954      (3,646)        939
             Contract liability to customers                          (9,539)      2,146       5,250
             Employee compensation and benefits                       20,910      (6,646)      6,009
             Product liability                                           308        (354)        353
             Prepaid expenses, other assets and other liabilities     (7,905)       (888)     (3,757)
             Income taxes payable                                     (1,223)     (2,117)      3,340
        Cash provided by operating activities                        143,806      49,587     119,812

 Investing Activities
    Property, plant, and equipment additions                         (24,229)    (20,296)    (10,541)
    Purchase of Marlin assets                                        (28,316)           -           -
    Purchases of short-term investments                             (369,439)   (282,738)   (114,259)
    Proceeds from maturity of short-term investments                 377,920     267,576           -
    Net proceeds from sale of assets                                     178          14          10
         Cash used for investing activities                          (43,886)    (35,444)   (124,790)

 Financing Activities
    Dividends paid                                                  (113,896)    (14,319)    (19,201)
    Repurchase of common stock                                             -      (1,995)          -
    Payment of employee withholding tax related to share-
        based compensation                                            (1,297)       (901)      (816)
        Cash used for financing activities                          (115,193)    (17,215)    (20,017)

 Decrease in cash and cash equivalents                               (15,273)     (3,072)    (24,995)
 Cash and cash equivalents at beginning of year                       35,420      38,492      63,487
 Cash and cash equivalents at end of year                           $ 20,147    $ 35,420    $ 38,492

See accompanying notes to consolidated financial statements.




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Notes to Consolidated Financial Statements

(Dollars in thousands, except per share)

1.     Summary of Significant Accounting Policies

Organization

Sturm, Ruger & Company, Inc. (the “Company”) is principally engaged in the design,
manufacture, and sale of firearms to domestic customers. Approximately 99% of sales were from
firearms. Export sales represented approximately 4% of firearms sales. The Company’s design
and manufacturing operations are located in the United States and almost all product content is
domestic. The Company’s firearms are sold through a select number of independent wholesale
distributors principally to the commercial sporting market.

The Company manufactures investment castings made from steel alloys and metal injection
molding (“MIM”) parts for internal use in its firearms and utilizes available capacity to
manufacture and sell investment castings and MIM parts to unaffiliated, third-party customers.
Castings were approximately 1% of the Company’s total sales for the year ended December 31,
2020.

Preparation of Financial Statements

The Company follows United States generally accepted accounting principles (“GAAP”). The
preparation of financial statements in conformity with GAAP requires management to make
estimates and assumptions that affect the reported amounts of assets and liabilities and disclosure
of contingent liabilities at the date of the financial statements and the reported amounts of revenues
and expenses during the reporting period. Actual results could differ from these estimates.

The significant accounting policies described below, together with the notes that follow, are an
integral part of the consolidated financial statements.

Principles of Consolidation

The consolidated financial statements include the accounts of the Company and its wholly owned
subsidiary. All significant intercompany accounts and transactions have been eliminated.

Revenue Recognition

The Company recognizes revenue in accordance with the provisions of Accounting Standards
Codification Topic 606, Revenue from Contracts with Customers (“ASC 606”), which became
effective January 1, 2018. Substantially all product sales are sold FOB (free on board) shipping
point. Customary payment terms are 2% 30 days, net 40 days. Generally, all performance
obligations are satisfied when product is shipped and the customer takes ownership and assumes
the risk of loss. In some instances, sales include multiple performance obligations. The most
common of these instances relates to sales promotion programs under which downstream
customers are entitled to receive no charge products based on their purchases of certain of the


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Company’s products from the independent distributors. The fulfillment of these no charge products
is the Company’s responsibility. In such instances, the Company allocates the revenue of the
promotional sales based on the estimated level of participation in the sales promotional program
and the timing of the shipment of all of the firearms included in the promotional program, including
the no charge firearms. Revenue is recognized proportionally as each performance obligation is
satisfied, based on the relative customary price of each product. Customary prices are generally
determined based on the prices charged to the independent distributors. The net change in contract
liabilities for a given period is reported as an increase or decrease to sales. The Company accounts
for cash sales discounts as a reduction in sales. Amounts billed to customers for shipping and
handling fees are included in net sales and costs incurred by the Company for the delivery of goods
are classified as selling expenses. Federal excise taxes are excluded from net sales.

Business Combination

On September 26, 2020, the Company entered into an Asset Purchase Agreement (the
"Agreement") with the Remington Outdoor Company, Inc. and each of the subsidiaries of the
Remington Outdoor Company, Inc. (collectively, “Remington”) to purchase substantially all of
the assets (the “Marlin Assets”) used to manufacture Marlin Firearms (the “Marlin Acquisition”).
The agreement to purchase these assets emanated from the Remington Outdoor Company, Inc.
bankruptcy and was approved by the United States Bankruptcy Court for the Northern District of
Alabama on September 30, 2020. The Marlin Acquisition was conducted through a Bankruptcy
Court-supervised process, subject to Bankruptcy Court-approved bidding procedures, approval of
the transactions by the Bankruptcy Court, and the satisfaction of certain closing conditions. The
Company closed on the Marlin Acquisition on November 23, 2020

The Agreement provided that, upon the terms and subject to the conditions set forth therein,
Remington sold, transferred and assigned to the Company the Marlin Assets (as defined in the
Agreement) for a purchase price of $28.3 million in cash. The Marlin Assets include the following
assets, among other things, equipment, inventory, and all intellectual property related to Marlin,
including the Marlin names and marks, and all derivatives thereof.

The primary purpose of the Marlin Acquisition was to manufacture and sell Marlin branded
firearms and generate shareholder value. The Marlin brand aligns with the Ruger brand and the
Marlin product portfolio will widen the Company’s diverse product offerings. The transaction
was funded by the Company with cash on hand and has been accounted for in accordance with
ASC 805 - Business Combinations. ASC-805 requires, among other things, an assignment of the
acquisition consideration transferred to the sellers for the tangible and intangible assets acquired,
using the bottom up approach, to estimate their value at acquisition date. Any excess of the fair
value of the purchase consideration over these identified net assets was recorded as goodwill. Our
estimates of fair value are based upon assumptions believed to be reasonable, yet are inherently
uncertain and, as a result, may differ from actual performance. During the measurement period,
not to exceed one year from the date of acquisition, we may record adjustments to the estimated
fair values of the assets acquired and liabilities assumed with a corresponding adjustment to
goodwill in the period in which such revised estimates are identified.




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Cash and Cash Equivalents

The Company considers interest-bearing deposits with financial institutions with remaining
maturities of three months or less at the time of acquisition to be cash equivalents.

Fair Value Measurements of Short-term Investments

Fair value is defined as the price that would be received to sell an asset or paid to transfer a liability
in an orderly transaction between market participants in the principal or most advantageous market
at the measurement date. Fair value is established according to a hierarchy that prioritizes
observable and unobservable inputs used to measure fair value into three broad levels, which are
described below:

        Level 1: Unadjusted quoted prices in active markets that are accessible at the measurement
        date for assets or liabilities. The fair value hierarchy gives the highest priority to Level 1
        inputs.

        Level 2: Observable prices that are based on inputs not quoted on active markets, but
        corroborated by market data.

        Level 3: Unobservable inputs are used when little or no market data is available. Level 3
        inputs are given the lowest priority in the fair value hierarchy.

The asset or liability’s fair value measurement level within the fair value hierarchy is based on the
lowest level of any input that is significant to the fair value measurement. Valuation techniques
used need to maximize the use of observable inputs and minimize the use of unobservable inputs.

As of December 31, 2020, all of the Company’s short-term investments are U.S. Treasury
instruments (Level 1), maturing within one year. Such securities are classified as held to maturity,
since the Company has the intent and ability to do so, and are carried at cost plus accrued interest,
which approximates fair value.

The fair value of inventory acquired as part of business combination is based on a third-party
valuation utilizing the comparable sales method which is based on Level 2 and Level 3 inputs.
The fair value of property, plant and equipment acquired as part of business combination is based
on a third-party valuation utilizing the indirect method of cost approach, which is based on Level
2 and Level 3 inputs. The fair value of patents acquired as part of business combination is based
on a third-party valuation utilizing the replacement cost method, which is based on Level 2 and
Level 3 inputs. The fair value of the remaining intangible assets as part of business combination
are based on a third-party valuation utilizing discounted cash flow methods that involves inputs,
which are not observable in the market (Level 3).

Accounts Receivable

The Company establishes an allowance for doubtful accounts based on the creditworthiness of its
customers and historical experience. While the Company uses the best information available to
make its evaluation, future adjustments to the allowance for doubtful accounts may be necessary

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if there are significant changes in economic and industry conditions or any other factors considered
in the Company’s evaluation. Bad debt expense has been immaterial during each of the last three
years. The Company mitigates its credit risk by maintaining credit insurance on most of its
significant customers.

Inventories

Substantially all of the Company’s inventories are valued at the lower of cost, principally
determined by the last-in, first-out (LIFO) method, or market. Elements of cost in inventories
include raw materials, direct labor and manufacturing overhead.

Property, Plant, and Equipment

Property, plant, and equipment are carried at cost. Depreciation is computed over useful lives
using the straight-line and declining balance methods predominately over 15 years for buildings,
7 years for machinery and equipment and 3 years for tools and dies. When assets are retired, sold
or otherwise disposed of, their gross carrying values and related accumulated depreciation are
removed from the accounts and a gain or loss on such disposals is recognized when appropriate.

Maintenance and repairs are charged to operations; replacements and improvements are
capitalized.

Long-lived Assets

The Company evaluates the carrying value of long-lived assets to be held and used when events
or changes in circumstances indicate the carrying value may not be recoverable. In performing this
review, the carrying value of the assets is compared to the projected undiscounted cash flows to
be generated from the assets. If the sum of the undiscounted expected future cash flows is less
than the carrying value of the assets, the assets are considered to be impaired. Impairment losses
are measured as the amount by which the carrying value of the assets exceeds their fair value. The
Company bases fair value of the assets on quoted market prices if available or, if not available,
quoted market prices of similar assets. Where quoted market prices are not available, the Company
estimates fair value using the estimated future cash flows generated by the assets discounted at a
rate commensurate with the risks associated with the recovery of the assets.

Goodwill

Our goodwill represents the excess of the purchase price of business combinations over the fair
value of the net assets acquired. We assess goodwill for impairment on an annual basis during the
fourth quarter of each year, and between annual tests whenever events or changes in circumstances
indicate that the carrying amount may not be recoverable. An impairment exists by the amount
the fair value of a reporting unit to which goodwill has been allocated is less than their respective
carrying values. The impairment for goodwill is limited to the total amount of goodwill allocated
to the reporting unit. Goodwill impairment testing requires significant judgment and management
estimates, including, but not limited to, the determination of (i) the number of reporting units,
(ii) the goodwill and other assets and liabilities to be allocated to the reporting units and (iii) the
fair values of the reporting units. The estimates and assumptions described above, along with other

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factors such as discount rates, will significantly affect the outcome of the impairment tests and the
amounts of any resulting impairment losses.

Income Taxes

Income taxes are accounted for using the asset and liability method. Under this method, deferred
income taxes are recognized for the tax consequences of “temporary differences” by applying
enacted statutory rates applicable to future years to temporary differences between the financial
statement carrying amounts and the tax basis of the Company’s assets and liabilities.

Product Liability

The Company provides for product liability claims including estimated legal costs to be incurred
defending such claims. The provision for product liability claims is charged to cost of products
sold.

Advertising Costs

The Company expenses advertising costs as incurred. Advertising expenses for 2020, 2019, and
2018, were $2.7 million, $2.6 million, and $2.9 million, respectively.

Shipping Costs

Costs incurred related to the shipment of products are included in selling expense. Such costs
totaled $3.9 million, $3.9 million, and $4.8 million in 2020, 2019, and 2018, respectively.

Research and Development

In 2020, 2019, and 2018, the Company spent approximately $8.0 million, $8.2 million, and $8.5
million, respectively, on research and development activities relating to new products and the
improvement of existing products. These costs are expensed as incurred.

Earnings per Share

Basic earnings per share is based upon the weighted-average number of shares of common stock
outstanding during the year. Diluted earnings per share reflect the impact of options, restricted
stock units, and deferred stock outstanding using the treasury stock method.

Recent Accounting Pronouncements

In February 2016, the FASB issued ASU 2016-02, Leases Topic 842 (“ASC 842”), which amends
the existing accounting standards for leases. ASC 842 requires lessees to record a right-of-use asset
and a corresponding lease liability on the balance sheet for all leases (with the exception of short-
term leases) and disclose key information about leasing arrangements, whereas under current
standards, the Company’s operating leases were not recognized on its consolidated balance sheet.
Leases will be classified as finance or operating, with classification affecting the pattern and
classification of expense recognition in the income statement. Topic 842 was subsequently

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amended by ASU No. 2018-01, Land Easement Practical Expedient for Transition to Topic 842;
ASU No. 2018-10, Codification Improvements to Topic 842, Leases; and ASU No. 2018-11,
Targeted Improvements. ASC 842 is effective for years beginning after December 15, 2018,
including interim periods within those fiscal years, and is to be applied using either a modified
retrospective approach, or an optional transition method which allows an entity to apply the new
standard at the adoption date with a cumulative-effect adjustment to the opening balance of
retained earnings in the period of adoption. The Company adopted ASC 842 in the first quarter of
2019 using this optional transition method. The new standard also provides practical expedients
for an entity’s ongoing accounting. The Company elected the short-term lease recognition
exemption for all leases that qualified. The Company elected the practical expedient to not
separate lease and non-lease components for all of its leases. The right-of-use assets and lease
liabilities for the lease portfolio recorded on its consolidated balance sheet as of January 1, 2019
was about $2 million, primarily related to real estate. The adoption of this pronouncement did not
impact the Company’s consolidated statements of operations or its consolidated statement of cash
flows.

In June 2016, the FASB issued ASU 2016-13, Measurement of Credit Losses on Financial
Instruments. The new guidance requires financial instruments measured at amortized cost basis
to be presented at the net amount expected to be collected through application of the current
expected credit losses model. The model requires an estimate of the credit losses expected over
the life of an exposure or pool of exposures. The income statement will reflect the measurement
of credit losses for newly recognized financial assets, as well as the expected increases or decreases
of expected credit losses that have taken place during the period. This pronouncement is effective
for fiscal years beginning after Dec. 15, 2019. The Company has completed its assessment and
adopted the new guidance effective January 1, 2020. The adoption of the new guidance did not
have a material impact to the Company.

2.     Acquisition of Marlin Assets

As described in Note 1, the Company closed on the Marlin Acquisition on November 23, 2020.
The Company paid $28.3 million dollars in cash for the Marlin Assets from Remington.

The Marlin Acquisition was accounted for in accordance with ASC Topic 805, Business
Combinations. Accordingly, the total purchase price has been allocated to tangible assets based
on their fair value and the intangibles and goodwill have been allocated on a provisional basis at
the date of acquisition. The Company assumed no liabilities in this transaction. These allocations
reflect various provisional estimates that were available at the time and are subject to change
during the purchase price allocation period until the valuations are finalized. The Company is in
the process of evaluating the inventory, machinery and equipment, tooling, and fixtures that were
acquired late in 2020.




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The following table summarizes the Company's preliminary fair value of the assets acquired, as of
November 23, 2020, for the Company’s Marlin Acquisition.

Purchase Price
 Cash paid to sellers                                               $ 28,300

Purchase Price Allocation
 Assets Acquired
   Inventory                                                        $ 11,400
   Machinery and equipment                                             5,000
   Tradename and trademarks                                            7,800
   Patents                                                              2,500
   Customer Relationships                                               1,000
   Goodwill                                                               600
   Net Assets Acquired                                              $ 28,300


Identifiable assets acquired were recorded at their estimated fair values based on the methodology
described under “Fair Value Measurements” in Note 1 - Significant Accounting Policies.

The Machinery and Equipment acquired in the Marlin Acquisition is classified as deposits on
capital items in Other Assets on the Company’s Consolidated Balance Sheet at December 31,
2020.

Intangible assets acquired in the Marlin Acquisition are reflected in Other Assets on the
Company’s Consolidated Balance Sheet at December 31, 2020. Intangible assets are amortized
over their estimated remaining useful lives using a straight-line methodology.

                                                       Remaining Economic
                                                          Useful Life
 Tradename and trademarks                                   20 years
 Patents                                                    20 years
 Customer Relationships                                     15 years

The excess purchase price over the fair value of the assets acquired was recorded as goodwill in
the amount of $0.6 million. The Company incurred acquisition related costs of $1.7 million, which
are included in selling, general and administrative expenses in the Company’s Consolidated
Statements of Income and Comprehensive Income for the fiscal year ended December 31, 2020.

The pro forma impact of the acquisition and the results of operations attributable to Marlin in 2019
and 2020 have not been presented, as they are not material to the Company’s consolidated results
of operations. The impact on sales and gross margin was no more than 5% of the reported amounts


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in either period, the trend in annual sales growth was unchanged, and the impact on gross margin
percentage was less than 1%, in both periods.

3.        Revenue Recognition and Contracts with Customers

On January 1, 2018, the Company adopted ASC 606 using the modified retrospective method,
applied to those contracts for which all performance obligations were not completed as of that
date. Under the modified retrospective method, results for reporting periods beginning after
January 1, 2018 are presented using the guidance of ASC 606, while prior period amounts were
not adjusted and continue to be reported in accordance with the previous guidance provided in
ASC Topic 605, Revenue Recognition.

The impact of the adoption of ASC 606 on revenue recognized during the years ended December
31, 2020 and December 31, 2019 is as follows:

                                                                 2020          2019         2018
     Contract liabilities with customers at January 1,        $ 9,623       $ 7,477      $ 6,950

     Revenue recognized                                        (14,570)      (16,352)     (20,653)

     Revenue deferred                                             5,031       18,498       21,180

     Contract liabilities with customers at December 31,      $     84      $ 9,623      $ 7,477

During the year ended December 31, 2020, the Company deferred $5.0 million of revenue, offset
by the recognition of $14.6 million of revenue previously deferred as the performance obligations
relating to the shipment of free products were satisfied. This resulted in a net increase in firearms
sales for the year ended December 31, 2020 of $9.6 million and a deferred contract revenue liability
at December 31, 2020 of $0.1 million. The deferred revenue balance is significantly reduced due
to the absence of promotions in the fourth quarter of 2020. The Company estimates that revenue
from this deferred contract liability will be recognized in the first quarter of 2021.

During the year ended December 31, 2019, the Company deferred $18.5 million of revenue, offset
by the recognition of $16.4 million of revenue previously deferred as the performance obligations
relating to the shipment of free products were satisfied. This resulted in a net decrease in firearms
sales for the year ended December 31, 2019 of $2.1 million and a deferred contract revenue liability
at December 31, 2019 of $9.6 million.

During the year ended December 31, 2018, the Company deferred $21.2 million of revenue, offset
by the recognition of $20.7 million of revenue previously deferred as the performance obligations
relating to the shipment of free products were satisfied. This resulted in a net decrease in firearms
sales for the year ended December 31, 2018 of $0.5 million and a deferred contract revenue liability
at December 31, 2018 of $7.4 million




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Practical Expedients and Exemptions

The Company has elected to account for shipping and handling activities that occur after control
of the related product transfers to the customer as fulfillment activities that are recognized upon
shipment of the goods.

4.     Trade Receivables, Net

Trade receivables consist of the following:

 December 31,                                                              2020            2019

 Trade receivables                                                      $59,442        $54,110
 Allowance for doubtful accounts                                           (400)          (400)
 Allowance for discounts                                                 (1,166)        (1,070)
                                                                        $57,876        $52,640

In 2020, the largest individual trade receivable balances accounted for 30%, 15%, and 14% of total
trade receivables, respectively.

In 2019, the largest individual trade receivable balances accounted for 31%, 18%, and 12% of total
trade receivables, respectively.

5.     Inventories

Inventories consist of the following:

 December 31,                                                              2020            2019
 Inventory at FIFO
     Finished goods                                                      $ 2,878       $ 13,131
     Materials and products in process                                    77,609         65,880
 Gross inventories                                                        80,487         79,011
     Less: LIFO reserve                                                  (48,016)       (47,137)
     Less: excess and obsolescence reserve                                (3,394)        (3,573)
 Net Inventories                                                        $ 29,077       $ 28,301

In 2019 inventory quantities were reduced. This reduction resulted in a liquidation of LIFO
inventory quantities carried at lower costs prevailing in prior years as compared with the current
cost of purchases, the effect of which decreased 2019 costs of products sold by approximately $0.2
million.




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6.     Property, Plant and Equipment

Property, plant and equipment consist of the following:

 December 31,                                                                2020           2019

 Land and improvements                                                  $   2,686      $   2,671
 Buildings and improvements                                                55,076         53,692
 Machinery and equipment                                                  285,869        270,426
 Dies and tools                                                            50,212         45,693
 Property, plant and equipment                                            393,843        372,482
 Less allowances for depreciation                                        (323,110)      (298,568)
 Net property, plant and equipment                                      $ 70,733       $ 73,914

7.     Other Assets

Other assets consist of the following:

 December 31,                                                                 2020           2019

 Patents, at cost                                                           $ 9,859        $ 7,181
    Accumulated amortization                                                 (5,071)        (4,780)
 Deposits on capital items                                                   22,255         11,886
 Right-of-use assets                                                          2,124          2,610
 Marlin trade name                                                            7,800              -
 Other                                                                        4,655          3,441
                                                                            $41,622        $20,338

The capitalized cost of patents is amortized using the straight-line method over their useful lives.
The cost of patent amortization was $0.3 million in 2020, 2019, and 2018. The estimated annual
patent amortization cost for each of the next five years is $0.4 million. Costs incurred to maintain
existing patents are charged to expense in the year incurred. The Marlin trade name will be
amortized using the straight-line method over its useful life. The estimated annual trade name
amortization cost for each of the next five years is $0.4 million. The intangible asset related to
Marlin customer relationships are included in Other above and will be amortized using the straight-
line method over its useful life. The estimated annual customer relationship name amortization
cost for each of the next five years is $0.1 million.

8.     Leased Assets

The Company leases certain of its real estate and equipment. The Company has evaluated all its
leases and determined that all are operating leases under the definitions of the guidance of ASU
2016-02. The Company’s lease agreements generally do not require material variable lease
payments, residual value guarantees or restrictive covenants.




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The Company adopted the provisions of ASU 2016-02 using the effective interest method on
January 1, 2019 and recorded right-of-use assets equal to the present value of the contractual
liability for future lease payments. The table below presents the right-of-use assets and related
lease liabilities recognized on the condensed consolidated balance sheet as of December 31, 2020:

                                              Balance Sheet Line Item     December 31, 2020

         Right-of-use assets                          Other assets                       $2,124

         Operating lease liabilities

             Current portion                 Trade accounts payable and
                                                 accrued expenses                        $ 451

             Noncurrent portion                    Lease liabilities                      1,724

         Total operating lease liabilities                                               $2,175

The depreciable lives of right-of-use assets are limited by the lease term and are amortized on a
straight line basis over the life of the lease.

The Company’s leases generally do not provide an implicit interest rate, and therefore the
Company calculates an incremental borrowing rate to determine the present value of its operating
lease liabilities. The following table reconciles the undiscounted future minimum lease payments
to the total operating lease liabilities recognized on the condensed consolidated balance sheet as
of December 31, 2020:

       2021                                                                              $ 559
       2022                                                                                 244
       2023                                                                                 213
       2024                                                                                 215
       2025                                                                                 160
       Thereafter                                                                         1,440
       Total undiscounted future minimum lease payments                                   2,831
       Less: Difference between undiscounted lease payments & the
           present value of future lease payments                                          (656)
       Total operating lease liabilities                                                 $2,175

Certain of the Company’s lease agreements contain renewal options at the Company’s discretion.
The Company does not recognize right-of-use assets or lease liabilities for leases of one year or
less or for renewal periods unless it is reasonably certain that the Company will exercise the
renewal option at the inception of the lease or when a triggering event occurs. The Company’s
weighted average remaining lease term for operating leases as of December 31, 2020 is 11.5 years.




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9.     Trade Accounts Payable and Accrued Expenses

Trade accounts payable and accrued expenses consist of the following:

 December 31,                                                              2020           2019

 Trade accounts payable                                                 $12,796        $ 8,339
 Federal excise taxes payable                                            14,332         10,670
 Accrued other                                                            9,950         10,762
                                                                        $37,078        $29,771

10.    Line of Credit

The Company has a $40 million unsecured revolving line of credit with a bank. This facility is
renewable annually and terminates on September 30, 2021. Borrowings under this facility bear
interest at the one-month LIBOR rate (0.14763%at December 31, 2020) plus 150 basis points. The
Company is charged one-quarter of a percent (0.25%) per year on the unused portion. At
December 31, 2020, the Company was in compliance with the terms and covenants of the credit
facility, which remains unused. At December 31, 2019, the Company was in compliance with the
terms and covenants of a previous credit facility.

11.    Employee Benefit Plans

The Company sponsors a qualified defined-contribution 401(k) plan that covers substantially all
of its employees. Under the terms of the 401(k) plan, the Company matches a certain portion of
employee contributions to their individual 401(k) accounts using the “safe harbor” guidelines
provided in the Internal Revenue Code. Expenses related to matching employee contributions to
the 401(k) plan were $3.3 million, $3.2 million, and $3.1 million in 2020, 2019, and 2018,
respectively.

Additionally, in 2020, 2019, and 2018 the Company provided discretionary supplemental
contributions to the individual 401(k) accounts of substantially all employees. Each employee
received a supplemental contribution to their account based on a uniform percentage of qualifying
compensation established annually. The cost of these supplemental contributions totaled $5.6
million, $5.0 million, and $5.3 million in 2020, 2019, and 2018, respectively.

12.    Other Operating Income, Net

Other operating income, net consists of the following:

 Year ended December 31,                                     2020           2019           2018
 Gain (loss) on sale of operating assets                      $52           $(54)            $10




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13.    Income Taxes

The Company files income tax returns in the U.S. federal jurisdiction and various state
jurisdictions. With few exceptions, the Company is no longer subject to U.S. federal and state
income tax examinations by tax authorities for years before 2017.

The federal and state income tax provision consisted of the following:

  Year ended December 31,              2020               2019                2018
                                 Current Deferred Current Deferred Current Deferred
  Federal                        $20,201    $3,696 $10,705    $(1,911) $17,574 $(3,265)
  State                            6,519       167   2,455       (513)   3,859     (387)
                                 $26,720    $3,863 $13,160    $(2,424) $21,433 $(3,652)

The effective income tax rate varied from the statutory federal income tax rate as follows:

 Year ended December 31,                                      2020           2019             2018
 Statutory federal income tax rate                            21.0%          21.0%            21.0%
 State income taxes, net of federal tax benefit                 4.4           3.6              4.0
 Other items                                                   (0.1)          0.4              0.9
 Effective income tax rate                                    25.3%           25.0%           25.9%

The Tax Cuts and Jobs Act of 2017 lowered the statutory corporate tax rate from 35% to 21% for
years beginning after December 31, 2017. The Company estimates that its effective tax rate in
2021 will approximate 25%.

Significant components of the Company’s deferred tax assets and liabilities are as follows:

 December 31,                                                             2020                2019
 Deferred tax assets
     Product Liability                                                   $ 285            $ 203
     Employee compensation and benefits                                   2,548            2,263
     Allowances for doubtful accounts and discounts                         445            3,761
     Inventories                                                            954              978
     Stock-based compensation                                             3,353            3,064
     Other                                                                1,443            1,637
 Total deferred tax assets                                                9,028           11,906
 Deferred tax liabilities:
     Depreciation                                                         6,638            5,631
     Other                                                                  860              882
 Total deferred tax liabilities                                           7,498            6,513
 Net deferred tax assets                                                 $1,530           $5,393

The Company made income tax payments of approximately $30.6 million, $16.0 million, and
$18.1 million, during 2020, 2019, and 2018, respectively. The Company expects to realize its
deferred tax assets through tax deductions against future taxable income.

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The Company does not believe it has included any “uncertain tax positions” in its federal income
tax return or any of the state income tax returns it is currently filing. The Company has made an
evaluation of the potential impact of additional state taxes being assessed by jurisdictions in which
the Company does not currently consider itself liable. The Company does not anticipate that such
additional taxes, if any, would result in a material change to its financial position.

14.    Earnings Per Share

Set forth below is a reconciliation of the numerator and denominator for the basic and diluted
earnings per share calculations for the periods indicated:

 Year ended December 31,                                       2020            2019           2018

 Numerator:
    Net income                                              $90,398        $32,291         $50,933
 Denominator:
    Weighted average number of common shares
     outstanding – Basic                                  17,486,054     17,461,421     17,450,658
    Dilutive effect of options and restricted stock
     units outstanding under the Company’s
     employee compensation plans                            283,802        317,411         203,973
 Weighted average number of common shares
     outstanding – Diluted                                17,769,856     17,778,832     17,654,631

15.    Stock Repurchases

In 2019 the Company repurchased shares of its common stock. Details of these purchases are as
follows:

                                                                             Total       Maximum
                                                                          Number of        Dollar
                                                                             Shares       Value of
                                                                          Purchased      Shares that
                                              Total                        as Part of    May Yet Be
                                            Number of        Average        Publicly     Purchased
                                             Shares         Price Paid    Announced       Under the
  Period                                    Purchased       per Share      Program        Program

  Third Quarter 2019
      July 28 to August 24                       44,500         $44.83         44,500
  Total                                          44,500         $44.83         44,500    $86,710,000

All of these purchases were made with cash held by the Company and no debt was incurred. No
shares were repurchased in 2018 and 2020.

At December 31, 2020, approximately $87 million remained authorized for share repurchases.


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  16.    Compensation Plans

  In May 2017, the Company’s shareholders approved the 2017 Stock Incentive Plan (the “2017
  SIP”) under which employees, independent contractors, and non-employee directors may be
  granted stock options, restricted stock, deferred stock awards, and stock appreciation rights, any
  of which may or may not require the satisfaction of performance objectives. Vesting requirements
  are determined by the Compensation Committee of the Board of Directors. The Company has
  reserved 750,000 shares for issuance under the 2017 SIP, of which 352,000 shares remain available
  for future grants as of December 31, 2020.

  Compensation expense related to deferred stock, restricted stock, and restricted stock units is
  recognized based on the grant-date fair value of the Company’s common stock, using either the
  actual share price or an estimated value using the Monte Carlo valuation model. The total stock-
  based compensation cost included in the Statements of Income was $6.1 million, $6.3 million, and
  $5.8 million in 2020, 2019, and 2018, respectively.

  Stock Options

  There were no stock options granted in 2020, 2019, or 2018 and no stock options outstanding at
  December 31, 2020.

  The following table summarizes the stock option activity of the 2007 SIP:

                                                                                           Weighted
                                                             Weighted      Weighted         Average
                                                             Average        Average       Remaining
                                                             Exercise      Grant Date     Contractual
                                             Shares           Price        Fair Value     Life (Years)
Outstanding at December 31, 2017                  11,838         $8.95           $6.69             1.3
     Granted                                            -             -               -              -
     Exercised                                    (4,616)          8.28           6.90               -
     Canceled                                     (1,750)          8.69           4.57             0.3
Outstanding at December 31, 2018                   5,472           9.60           7.20             0.9
     Granted                                            -             -               -              -
     Exercised                                   (5,472)           9.60           7.20               -
     Canceled                                           -             -               -              -
Outstanding at December 31, 2019                        -             -               -              -
     Granted                                            -             -               -              -
     Exercised                                          -             -               -              -
     Canceled                                           -             -               -              -
Outstanding at December 31, 2020                        -             -               -              -
Exercisable Options Outstanding at
December 31, 2020                                       -              -              -                -
Non-Vested Options Outstanding at
December 31, 2020                                       -         $    -         $    -                -


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Deferred Stock

Deferred stock awards vest based on the passage of time or the Company’s attainment of
performance objectives. Upon vesting, these awards convert one-for-one to common stock.

In 2020, 6,244 deferred stock awards were issued to non-employee directors that will vest in May
2021 and 8,078 deferred stock awards were issued to non-employee directors that will vest in May
2023.

In 2019, 6,337 deferred stock awards were issued to non-employee directors vested in May 2020
and 7,720 deferred stock awards were issued to non-employee directors that will vest in May 2022.

In 2018, 5,767 deferred stock awards were issued to non-employee directors that vested in May
2019 and 6,751 deferred stock awards were issued to non-employee directors that will vest in May
2021.

Compensation expense related to these awards is amortized ratably over the vesting period.
Compensation expense related to these awards was $0.9 million in 2020 and $0.7 in 2019 and
2018.

At December 31, 2020, there was $0.7 million of unrecognized compensation cost related to
deferred stock that is expected to be recognized over a period of three years.

Restricted Stock Units

The Company grants restricted stock units (RSU’s) to senior employees. Some of these RSU’s
are retention awards and have only time-based vesting. Other RSU’s have a vesting “double
trigger.” The vesting of these RSU’s is dependent on the achievement of corporate objectives
established by the Compensation Committee of the Board of Directors, including stock
performance relative to industry indices, return on net operating assets, and the passage of time.

During 2020, 95,000 restricted stock units were issued. Compensation costs related to these
restricted stock units was $5.7 million, of which $1.1 million was recognized in 2020. The costs
are being recognized ratably over the remaining periods required before the units vest, which range
from 24 to 26 months.

During 2019, 68,000 restricted stock units were issued. Compensation costs related to these
restricted stock units was $3.7 million, of which $1.0 million was recognized in 2019. The costs
are being recognized ratably over the remaining periods required before the units vest, which range
from 24 to 26 months.

During 2018, 172,000 restricted stock units were issued. Compensation costs related to these
restricted stock units was $8.1 million, of which $2.2 million was recognized in 2018. The costs
are being recognized ratably over the remaining periods required before the units vest, which
ranged from 24 to 26 months.



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At December 31, 2020, there was $7.0 million of unrecognized compensation cost related to
restricted stock units that is expected to be recognized over a period of 2.3 years.

17.     Operating Segment Information

The Company has two reportable operating segments: firearms and castings. The firearms
segment manufactures and sells rifles, pistols, and revolvers principally to a number of federally-
licensed, independent wholesale distributors primarily located in the United States. The castings
segment manufactures and sells steel investment castings and metal injection molding parts.

Corporate segment income relates to interest income, the sale of non-operating assets, and other
non-operating activities. Corporate segment assets consist of cash and other non-operating assets.

The Company evaluates performance and allocates resources, in part, based on income (loss)
before taxes. The accounting policies of the reportable segments are the same as those described
in the summary of significant accounting policies (see Note 1). Intersegment sales are recorded at
the Company’s cost plus a fixed profit percentage.

   Year ended December 31,                                  2020           2019           2018
   Net Sales
     Firearms                                          $565,863        $406,326       $490,607
     Castings
        Unaffiliated                                      3,005           4,180          5,028
        Intersegment                                     22,254          18,425         22,946
                                                         25,259          22,605         27,974
      Eliminations                                      (22,254)        (18,425)       (22,946)
                                                       $568,868        $410,506       $495,635
   Income (Loss) Before Income Taxes
     Firearms                                          $120,732         $40,814        $70,311
     Castings                                            (1,000)           (797)        (2,240)
     Corporate                                            1,249           3,010            643
                                                       $120,981         $43,027        $68,714
   Identifiable Assets
     Firearms                                          $174,500        $163,792       $166,975
     Castings                                            11,959          11,332         10,850
     Corporate                                          161,799         173,837        157,707
                                                       $348,258        $348,961       $335,532
   Depreciation
     Firearms                                           $25,126         $27,149        $29,542
     Castings                                             2,158           1,875          2,083
                                                        $27,284         $29,024        $31,625
   Capital Expenditures
     Firearms                                           $19,253         $19,570        $ 9,689
     Castings                                             4,976             726            852
                                                        $24,229         $20,296        $10,541

In 2020, the Company’s largest customers and the percent of firearms sales they represented were
as follows: Sports South - 22%; Lipsey’s - 22%; and Davidson’s - 18%.

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In 2019, the Company’s largest customers and the percent of firearms sales they represented were
as follows: Lipsey’s - 26%; Sports South - 22%; and Davidson’s - 15%.

In 2018, the Company’s largest customers and the percent of firearms sales they represented were
as follows: Davidson’s - 21%; Lipsey’s - 20%; and Sports South - 16%.

The Company’s assets are located entirely in the United States and domestic sales represented at
least 95% of total sales in 2020, 2019, and 2018.

18.    Quarterly Results of Operations (Unaudited)

The following is a tabulation of the unaudited quarterly results of operations for the two years
ended December 31, 2020:

                                                        Three Months Ended
                                          3/28/20        6/27/20      9/26/20           12/31/20
 Net Sales                               $123,639       $130,264     $145,705           $169,260
 Gross profit                              36,009         40,085       51,152             64,195
 Net income                                15,338         18,594       24,753             31,713
 Basic earnings per share                    0.88           1.06         1.42               1.81
 Diluted earnings per share                 $0.87          $1.05        $1.39              $1.78


                                                        Three Months Ended
                                          3/30/19        6/29/19      9/28/19           12/31/19
 Net Sales                               $114,039        $96,329      $94,999           $105,139
 Gross profit                              32,597         22,302       19,867             24,782
 Net income                                13,033          6,233        4,817              8,208
 Basic earnings per share                    0.75           0.36         0.28               0.47
 Diluted earnings per share                 $0.74          $0.35        $0.27              $0.46

19.    Related Party Transactions

From time to time, the Company contracts with the National Rifle Association (“NRA”) for some
of its promotional and advertising activities. The Company paid the NRA $0.6 million, $0.8
million and $0.7 million in 2020, 2019 and 2018, respectively.

20.    Contingent Liabilities

As of December 31, 2020, the Company was a defendant in five (5) lawsuits and is aware
of certain other such claims. The lawsuits fall into three categories: traditional product liability
litigation, non-product litigation, and municipal litigation. Each is discussed in turn below.




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Traditional Product Liability Litigation

Two lawsuits mentioned above involve a claim for damages related to an allegedly defective
product due to its design and/or manufacture. The lawsuits stem from a specific incident of
personal injury and a r e based on traditional product liability theories such as strict liability,
negligence, and/or breach of warranty.

The Company management believes that the allegations in these cases are unfounded, that the
incidents are unrelated to the design or manufacture of the firearms involved, and that there
should be no recovery against the Company.

Non-Product Litigation

Primus Group LLC v. Smith and Wesson, et al. is a putative class action filed in the United States
District Court for the Southern District of Ohio on August 8, 2019. Plaintiff alleges that the
defendants’ lawful sale of modern sporting rifles violates the Racketeer Influenced Corrupt
Organizations Act and seeks a temporary restraining order (“TRO”) and permanent injunction. On
August 20, 2019, the court denied plaintiff’s request for a TRO. On September 3, 2019, defendants
filed a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6). On September 16,
2019, plaintiff filed an Amended Complaint. On October 9, 2019, the court dismissed plaintiff’s
Amended Complaint, with prejudice. Plaintiff filed a Notice of Appeal on October 15, 2019. The
parties fully briefed the appeal and the Court of Appeals for the Sixth Circuit entered an order
affirming the dismissal on February 8, 2021.

FN Herstal S.A. v. Sturm, Ruger & Co., Inc. was filed in the United States District Court for the
Eastern District of Virginia on March 6, 2020. The Complaint alleges injury and economic loss
based upon alleged federal and state trademark infringement and unfair competition. These
allegations arise from the Company’s use and efforts to seek registration of “Ruger-57” in
connection with the launch of a pistol bearing that mark. The Company believes that the suit lacks
any merit and has filed an Answer denying all material allegations and Counterclaims seeking
cancellation of certain of Plaintiff’s registered trademarks. Discovery will close on March 9, 2021
and a pretrial conference is scheduled for March 12, 2021.

Municipal Litigation

Municipal litigation generally includes those cases brought by cities or other governmental
entities against firearms manufacturers, distributors and retailers seeking to recover damages
allegedly arising out of the misuse of firearms by third parties. There is only one remaining
lawsuit of this type, filed by the City of Gary in Indiana State Court in 1999. The Complaint in
that case seeks damages, among other things, for the costs of medical care, police and
emergency services, public health services, and other services as well as punitive damages. In
addition, nuisance abatement and/or injunctive relief is sought to change the design, manufacture,
marketing and distribution practices of the various defendants. The suit alleges, among other
claims, negligence in the design of products, public nuisance, negligent distribution and
marketing, negligence per se and deceptive advertising. The case does not allege a specific



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injury to a specific individual as a result of the misuse or use of any of the Company's
products.

After a long procedural history, the case was scheduled for trial on June 15, 2009. The case
was not tried on that date and was largely dormant until a status conference was held on July
27, 2015. At that time, the court entered a scheduling order setting deadlines for plaintiff to
file a Second Amended Complaint, for defendants to answer, and for defendants to file
dispositive motions. The plaintiff did not file a Second Amended Complaint by the deadline.

In 2015, Indiana passed a new law such that Indiana Code §34-12-3-1 became applicable to the
City's case. The defendants filed a joint motion for judgment on the pleadings, asserting
immunity under §34-12-3-1 and asking the court to revisit the Court of Appeals' decision holding
the Protection of Lawful Commerce in Arms Act inapplicable to the City's claims.

On September 29, 2016, the court entered an order staying the case pending a decision by the
Indiana Supreme Court in KS&E Sports v. Runnels, which presented related issues. The
Indiana Supreme Court decided KS&E Sports on April 24, 2017, and the C i t y o f Gary court
lifted the stay. The City of Gary court also entered an order setting a supplemental briefing
schedule under which the parties addressed the impact of the KS&E Sports decision on
defendants' motion for judgment on the pleadings.

A hearing on the motion for judgment on the pleadings was held on December 12, 2017. On
January 2, 2018, the court issued an order granting defendants’ motion for judgment on the
pleadings, but denying defendants’ request for attorney’s fees and costs. On January 8, 2018, the
court entered judgment for the defendants. The City filed a Notice of Appeal on February 1, 2018.
Defendants cross-appealed the order denying attorney’s fees and costs.

Briefing in the Indiana Court of Appeals was completed on the City’s appeal and Defendants’
cross appeal on September 10, 2018. The Court of Appeals issued its ruling on May 23, 2019,
affirming dismissal of the City’s negligent design and warnings count on the basis that the City
had not alleged that Manufacturer Defendants’ conduct was unlawful. However, the court reversed
dismissal of the City’s negligent sale and distribution and related public nuisance counts for
damages and injunctive relief.

The Manufacturer Defendants filed a Petition to Transfer the case to the Indiana Supreme Court
on July 8, 2019. The Petition was denied on November 26, 2019. The case was remanded to the
trial court for further proceedings, though there has been no activity since then.

Summary of Claimed Damages and Explanation of Product Liability Accruals

Punitive damages, as well as compensatory damages, are demanded in certain of the lawsuits
and claims. In many instances, the plaintiff does not seek a specified amount of money, though
aggregate amounts ultimately sought may exceed product liability accruals and applicable
insurance coverage. For product liability claims made after July 10, 2000, coverage is provided
on an annual basis for losses exceeding $5 million per claim, or an aggregate maximum loss of



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$10 million annually, except for certain new claims which might be brought by governments
or municipalities after July 10, 2000, which are excluded from coverage.

The Company management monitors the status of known claims and the product liability accrual,
which includes amounts for asserted and unasserted claims. While it is not possible to forecast
the outcome of litigation or the timing of costs, in the opinion of management, after
consultation with special and corporate counsel, it is not probable and is unlikely that litigation,
including punitive damage claims, will have a material adverse effect on the financial position
of the Company, but may have a material impact on the Company’s financial results for a
particular period.

Product liability claim payments are made when appropriate if, as, and when claimants and
the Company reach agreement upon an amount to finally resolve all claims. Legal costs are
paid as the lawsuits and claims develop, the timing of which may vary greatly from case to case.
A time schedule cannot be determined in advance with any reliability concerning when payments
will be made in any given case.

Provision is made for product liability claims based upon many factors related to the severity
of the alleged injury and potential liability exposure, based upon prior claim experience. Because
the Company's experience in defending these lawsuits and claims is that unfavorable outcomes
are typically not probable or estimable, only in rare cases is an accrual established for such
costs.

In most cases, an accrual is established only for estimated legal defense costs. Product
liability accruals are periodically reviewed to reflect then-current estimates of possible liabilities
and expenses incurred to date and reasonably anticipated in the future. Threatened product
liability claims are reflected in the Company's product liability accrual on the same basis as
actual claims; i.e., an accrual is made for reasonably anticipated possible liability and claims
handling expenses on an ongoing basis.

A range of reasonably possible losses relating to unfavorable outcomes cannot be made.
However, in product liability cases in which a dollar amount of damages is claimed, the amount
of damages claimed, which totaled $1.1 million and $0.1 million at December 31, 2020 and
2019, respectively, are set forth as an indication of possible maximum liability the Company
might be required to incur in these cases (regardless of the likelihood or reasonable probability
of any or all of this amount being awarded to claimants) as a result of adverse judgments that
are sustained on appeal.

During 2020, one (1) traditional product liability lawsuit was filed against the Company and one
(1) was resolved. As of December 31, 2020, the Company was a defendant in three (3) lawsuits
involving its products, including two (2) traditional lawsuits and one (1) municipal lawsuit.

During 2019, two (2) traditional product liability lawsuits were filed against the Company and
three (3) were resolved. As of December 31, 2019, the Company was a defendant in three (3)
lawsuits involving its products, including two (2) traditional lawsuits and one (1) municipal
lawsuit.


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The Company’s product liability expense was $1.1 million in 2020, $0.7 million in 2019, $1.5
million in 2018. This expense includes the cost of outside legal fees, and other expenses incurred
in the management and defense of product liability matters.

A roll-forward of the product liability reserve and detail of product liability expense for the three
years ended December 31, 2020 follows:

Balance Sheet Roll-forward for Product Liability Reserve

                                                     Cash Payments
                                     Accrued
                                       Legal
                      Balance        Expense                                     Balance
                     Beginning       (Income)      Legal Fees Settlements        End of
                     of Year (a)        (b)           (c)          (d)           Year (a)

        2018             $ 819             731          (183)          (195)        $1,172

        2019             $1,172             (37)        (240)           (77)        $ 818

        2020             $ 818             300             8               -        $1,126


Income Statement Detail for Product Liability Expense

                       Accrued      Insurance        Total
                        Legal       Premium         Product
                       Expense       Expense        Liability
                         (b)           (e)          Expense

        2018              $ 731            783          $1,514

        2019             $ (37)            755          $ 718

        2020              $ 300            839          $1,139


Notes
(a)     The beginning and ending liability balances represent accrued legal fees only. Settlements
        and administrative costs are expensed as incurred. Only in rare instances is an accrual
        established for settlements.

(b)     The expense accrued in the liability is for legal fees only. In 2019, the costs incurred related
        to cases that were settled or dismissed were less than the amounts accrued for these cases
        in prior years.
(c)     Legal fees represent payments to outside counsel related to product liability matters.




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(d)    Settlements represent payments made to plaintiffs or allegedly injured parties in exchange
       for a full and complete release of liability.
(e)    Insurance expense represents the cost of insurance premiums.
There were no insurance recoveries during any of the above years.

21.    Financial Instruments

The Company does not hold or issue financial instruments for trading or hedging purposes, nor
does it hold interest rate, leveraged, or other types of derivative financial instruments. Fair values
of accounts receivable, accounts payable, accrued expenses and income taxes payable reflected in
the December 31, 2020 and 2019 balance sheets approximate carrying values at those dates.

22.    Subsequent Events

On February 12, 2021, the Company’s Board of Directors authorized a dividend of 71¢ per share
to shareholders of record on March 12, 2021.

The Company’s management has evaluated transactions occurring subsequent to December 31,
2020 and determined that there were no events or transactions during that period that would have
a material impact on the Company’s results of operations or financial position.




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ITEM 9—CHANGES IN AND DISAGREEMENTS WITH ACCOUNTANTS ON
       ACCOUNTING AND FINANCIAL DISCLOSURE

None.


ITEM 9A—CONTROLS AND PROCEDURES

Evaluation of Disclosure Controls and Procedures

The Company conducted an evaluation, with the participation of its Chief Executive Officer and
Chief Financial Officer, of the effectiveness of the design and operation of the Company’s
disclosure controls and procedures, as defined in Rules 13a-15(e) and 15d-15(e) under the
Securities Exchange Act of 1934, as amended, as of December 31, 2020. Based upon that
evaluation, the Chief Executive Officer and Chief Financial Officer have concluded that as of
December 31, 2020, the Company’s disclosure controls and procedures over financial reporting
were effective.

Management’s Report on Internal Control over Financial Reporting

The Company’s management is responsible for establishing and maintaining adequate internal
control over financial reporting as defined in Rules 13a-15(f) and 15d-15(f) under the Securities
Exchange Act of 1934. Because of its inherent limitations, internal control over financial reporting
may not prevent or detect misstatements. Also, projections of any evaluation of effectiveness to
future periods are subject to the risk that controls may become inadequate because of changes in
conditions, or that the degree of compliance with the policies or procedures may deteriorate.

The Company conducted an evaluation, with the participation of its Chief Executive Officer and
Chief Financial Officer, of the effectiveness of its internal control over financial reporting as of
December 31, 2020. This evaluation was performed based on the criteria established in “Internal
Control — Integrated Framework” issued by the Committee of Sponsoring Organizations of the
Treadway Commission (“COSO”) in 2013.

Management has concluded that the Company maintained effective internal control over financial
reporting as of December 31, 2020, based on criteria established in “Internal Control — Integrated
Framework” issued by the COSO in 2013.

The effectiveness of the Company’s internal control over financial reporting as of December 31,
2020 has been audited by RSM US LLP, an independent registered public accounting firm, as
stated in their report which is included in this Form 10-K.

Changes in Internal Control over Financial Reporting

There were no changes in our internal control over financial reporting that occurred during our
most recently completed fiscal quarter that has materially affected, or is reasonably likely to
materially affect, our internal control over financial reporting.


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New York Stock Exchange Certification

Pursuant to Section 303A.12(a) of the New York Stock Exchange Listed Company Manual, the
Company submitted an unqualified certification of our Chief Executive Officer to the New York
Stock Exchange in 2020. The Company has also filed, as exhibits to this Annual Report on Form
10-K, the Chief Executive Officer and Chief Financial Officer Certifications required under the
Sarbanes-Oxley Act of 2002.


ITEM 9B—OTHER INFORMATION

None.


PART III

ITEM 10—DIRECTORS, EXECUTIVE OFFICERS AND CORPORATE GOVERNANCE


Information concerning the Company’s directors, including the Company’s separately designated
standing audit committee, and on the Company’s code of business conduct and ethics required by
this Item is incorporated by reference from the Company’s Proxy Statement relating to the 2021
Annual Meeting of Stockholders scheduled to be held May 12, 2021, which will be filed with the
SEC in April 2021.

Information concerning the Company’s executive officers required by this Item is set forth in Item
1 of this Annual Report on Form 10-K under the caption “Executive Officers of the Company.”

Information concerning beneficial ownership reporting compliance required by this Item is
incorporated by reference from the Company’s Proxy Statement relating to the 2021 Annual
Meeting of Stockholders scheduled to be held May 12, 2021, which will be filed with the SEC in
April 2021.


ITEM 11—EXECUTIVE COMPENSATION

Information concerning director and executive compensation required by this Item is incorporated
by reference from the Company’s Proxy Statement relating to the 2021 Annual Meeting of
Stockholders scheduled to be held May 12, 2021, which will be filed with the SEC in April 2021.


ITEM 12—SECURITY OWNERSHIP OF CERTAIN BENEFICIAL OWNERS AND
        MANAGEMENT AND RELATED STOCKHOLDER MATTERS

Information concerning the security ownership of certain beneficial owners and management and
related stockholder matters required by this Item is incorporated by reference from the Company’s
Proxy Statement relating to the 2021 Annual Meeting of Stockholders scheduled to be held May
12, 2021, which will be filed with the SEC in April 2021.



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ITEM 13—CERTAIN RELATIONSHIPS AND RELATED TRANSACTIONS AND
        DIRECTOR INDEPENDENCE

Information concerning certain relationships and related transactions required by this Item is
incorporated by reference from the Company’s Proxy Statement relating to the 2021 Annual
Meeting of Stockholders scheduled to be held May 12, 2021.


ITEM 14—PRINCIPAL ACCOUNTING FEES AND SERVICES

Information concerning the Company’s principal accountant fees and services and the pre-
approval policies and procedures of the audit committee of the board of directors required by this
Item is incorporated by reference from the Company’s Proxy Statement relating to the 2021
Annual Meeting of Stockholders scheduled to be held May 12, 2021, which will be filed with the
SEC in April 2021.




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PART IV

ITEM 15—EXHIBITS AND FINANCIAL STATEMENT SCHEDULE

(a)   Exhibits and Financial Statement Schedule

      (1)   Financial Statements can be found under Item 8 of Part II of this Form 10-K

      (2)   Schedule can be found on Page 94 of this Form 10-K

      (3)   Listing of Exhibits:
             Exhibit 3.1           Certificate of Incorporation of the Company, as amended
                                   (Incorporated by reference to Exhibits 4.1 and 4.2 to the Form
                                   S-3 Registration Statement previously filed by the Company
                                   File No. 33-62702).

             Exhibit 3.2           Bylaws of the Company, as amended through November 12,
                                   2019.

             Exhibit 4.1           Description of the Company’s Securities.

             Exhibit 10.1          Severance Agreement, dated as of April 10, 2008, by and
                                   between the Company and Thomas A. Dineen (Incorporated by
                                   reference to Exhibit 10.2 to the Company's Current Report on
                                   Form 8-K filed with the SEC on April 11, 2008).

             Exhibit 10.2          Severance Agreement, dated as of April 10, 2008, by and
                                   between the Company and Thomas P. Sullivan (Incorporated by
                                   reference to Exhibit 10.6 to the Company's Current Report on
                                   Form 8-K filed with the SEC on April 11, 2008).

             Exhibit 10.3          Severance Agreement, dated as of May 2, 2008 by and between
                                   the Company and Kevin B. Reid, Sr. (Incorporated by reference
                                   to Exhibit 10.1 to the Company's Current Report on Form 8-K
                                   filed with the SEC on May 5, 2008).

             Exhibit 10.4          Transition Services and Consulting Agreement, dated August 1,
                                   2016, by and between the Company and Michael O. Fifer
                                   (Incorporated by reference to Exhibit 10.1 to the Company's
                                   Current Report on Form 8-K filed with the SEC on August 2,
                                   2016).

             Exhibit 10.5          Amended and Restated Agreement, dated November 10, 2020,
                                   by and between the Company and Christopher J. Killoy
                                   (Incorporated by reference to Exhibit 10.1 to the Company's
                                   Current Report on Form 8-K/A filed with the SEC on
                                   November 12, 2020).




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Exhibit 10.6       Executive Severance Agreement, dated August 1, 2016, by and
                   between the Company and Shawn C. Leska (Incorporated by
                   reference to Exhibit 10.3 to the Company's Current Report on
                   Form 8-K filed with the SEC on August 2, 2016).

Exhibit 10.7       Credit Agreement, dated September 27, 2018, by and between
                   the Company and Wells Fargo Bank, NA (Incorporated by
                   reference to Exhibit 10.1 to the Company's Current Report on
                   Form 8-K filed with the SEC on October 2, 2018).

Exhibit 10.8       The Sturm, Ruger & Company, Inc. 2017 Stock Incentive Plan
                   (incorporated by reference to Annex A of the Company’s
                   Definitive Proxy Statement of Schedule 14A, filed with the
                   SEC on March 27, 2017)

Exhibit 10.9       Asset Purchase Agreement, dated September 26, 2020, by and
                   among Sturm, Ruger & Co., Inc. and Remington Outdoor
                   Company, Inc. and each of the subsidiaries of Remington
                   Outdoor Company, Inc. (Incorporated by reference to Exhibit
                   99.1 to the Company's Current Report on Form 8-K filed with
                   the SEC on October 1, 2020).

Exhibit 10.10      Second Amendment to Credit Agreement, dated September 30,
                   2020, by and between the Company and Wells Fargo Bank, NA
                   (Incorporated by reference to Exhibit 99.1 to the Company's
                   Current Report on Form 8-K filed with the SEC on October 5,
                   2020).

Exhibit 23.1       Consent of RSM US LLP

Exhibit 31.1       Certification of Chief Executive Officer Pursuant to Rule 13a-
                   14(a) of the Exchange Act.

Exhibit 31.2       Certification of Treasurer and Chief Financial Officer Pursuant
                   to Rule 13a-14(a) of the Exchange Act.

Exhibit 32.1       Certification of the Chief Executive Officer Pursuant to Rule
                   13a-14(b) of the Exchange Act and 18 U.S.C. Section 1350, as
                   Adopted Pursuant to Section 906 of the Sarbanes-Oxley Act of
                   2002.

Exhibit 32.2       Certification of the Treasurer and Chief Financial Officer
                   Pursuant to Rule 13a-14(b) of the Exchange Act and 18 U.S.C.
                   Section 1350, as Adopted Pursuant to Section 906 of the
                   Sarbanes-Oxley Act of 2002.

Exhibit 101.INS*   XBRL Instance Document – the instance document does not
                   appear in the Interactive Data File because its XBRL tags are
                   embedded within the Inline XBRL document.

Exhibit 101.SCH*   Inline XBRL Taxonomy Extension Schema Document



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Exhibit 101.CAL*   Inline XBRL Taxonomy Extension Calculation Linkbase
                   Document

Exhibit 101.DEF*   Inline XBRL Taxonomy Extension Definition Linkbase
                   Document

Exhibit 101.LAB*   Inline XBRL Taxonomy Extension Label Linkbase Document

Exhibit 101.PRE*   Inline XBRL Taxonomy Extension Presentation Linkbase
                   Document

Exhibit 104*       Cover Page Interactive Data File – the cover page interactive
                   data file does not appear in the Interactive Data File because its
                   XBRL tags are embedded within the Inline XBRL document.

*Filed herewith




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SIGNATURES


Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the
registrant has duly caused this report to be signed on its behalf by the undersigned, thereunto duly
authorized.

                                                           STURM, RUGER & COMPANY, INC.
                                                                    (Registrant)


                                                     S/THOMAS A. DINEEN
                                                     Thomas A. Dineen
                                                     Principal Financial Officer
                                                     Principal Accounting Officer, Senior Vice President,
                                                     Treasurer, and Chief Financial Officer


                                                     February 17, 2021
                                                     Date

Pursuant to the requirements of the Securities Exchange Act of 1934, this report has been signed
below by the following persons on behalf of the registrant and in the capacities and on the dates
indicated.


 S/CHRISTOPHER J. KILLOY                    2/17/21      S/JOHN A. COSENTINO, JR.                  2/17/21
 Christopher J. Killoy                                   John A. Cosentino, Jr.
 Chief Executive Officer, Director                       Director
 (Principal Executive Officer)


 S/C. MICHAEL JACOBI                        2/17/21      S/RONALD C. WHITAKER                      2/17/21
 C. Michael Jacobi                                       Ronald C. Whitaker
 Director                                                Director

 S/AMIR P. ROSENTHAL                       2/17/21       S/PHILLIP C. WIDMAN                       2/17/21
 Amir P. Rosenthal                                       Phillip C. Widman
 Director                                                Director


 S/TERRENCE G. O’CONNOR                     2/17/21      S/SANDRA S. FROMAN                        2/17/21
 Terrence G. O’Connor                                    Sandra S. Froman
 Director                                                Director


 S/MICHAEL O. FIFER                         2/17/21      S/THOMAS A. DINEEN                        2/17/21
 Michael O. Fifer                                        Thomas A. Dineen
 Director                                                Principal Financial Officer
                                                         Principal Accounting Officer, Senior Vice
                                                         President, Treasurer, and Chief Financial Officer


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                               EXHIBIT INDEX


                                                                                Page
                                                                                No.
Exhibit 3.1    Certificate of Incorporation of the Company, as amended
               (Incorporated by reference to Exhibits 4.1 and 4.2 to the Form
               S-3 Registration Statement previously filed by the Company
               File No. 33-62702).

Exhibit 3.2    Bylaws of the Company, as amended through November 12,
               2019.

Exhibit 4.1    Description of the Company’s Securities.

Exhibit 10.1   Severance Agreement, dated as of April 10, 2008, by and
               between the Company and Thomas A. Dineen (Incorporated by
               reference to Exhibit 10.2 to the Company's Current Report on
               Form 8-K filed with the SEC on April 11, 2008).

Exhibit 10.2   Severance Agreement, dated as of April 10, 2008, by and
               between the Company and Thomas P. Sullivan (Incorporated by
               reference to Exhibit 10.6 to the Company's Current Report on
               Form 8-K filed with the SEC on April 11, 2008).

Exhibit 10.3   Severance Agreement, dated as of May 2, 2008 by and between
               the Company and Kevin B. Reid, Sr. (Incorporated by reference
               to Exhibit 10.1 to the Company's Current Report on Form 8-K
               filed with the SEC on May 2, 2008).

Exhibit 10.4   Transition Services and Consulting Agreement, dated August 1,
               2016, by and between the Company and Michael O. Fifer
               (Incorporated by reference to Exhibit 10.1 to the Company's
               Current Report on Form 8-K filed with the SEC on August 2,
               2016).

Exhibit 10.5   Amended and Restated Agreement, dated November 10, 2020,
               by and between the Company and Christopher J. Killoy
               (Incorporated by reference to Exhibit 10.1 to the Company's
               Current Report on Form 8-K/A filed with the SEC on
               November 12, 2020).

Exhibit 10.6   Executive Severance Agreement, dated August 1, 2016, by and
               between the Company and Shawn C. Leska (Incorporated by
               reference to Exhibit 10.3 to the Company's Current Report on
               Form 8-K filed with the SEC on August 2, 2016).

Exhibit 10.7   Credit Agreement, dated September 27, 2018, by and between
               the Company and Wells Fargo Bank, NA (Incorporated by
               reference to Exhibit 10.1 to the Company's Current Report on
               Form 8-K filed with the SEC on October 2, 2018).




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EXHIBIT INDEX (continued)

Exhibit 10.8       The Sturm, Ruger & Company, Inc. 2017 Stock Incentive Plan
                   (incorporated by reference to Annex A of the Company’s
                   Definitive Proxy Statement of Schedule 14A, filed with the
                   SEC on March 27, 2017)

Exhibit 10.9       Asset Purchase Agreement, dated September 26, 2020, by and
                   among Sturm, Ruger & Co., Inc. and Remington Outdoor
                   Company, Inc. and each of the subsidiaries of Remington
                   Outdoor Company, Inc. (Incorporated by reference to Exhibit
                   99.1 to the Company's Current Report on Form 8-K filed with
                   the SEC on October 1, 2020).

Exhibit 10.10      Second Amendment to Credit Agreement, dated September 30,
                   2020, by and between the Company and Wells Fargo Bank, NA
                   (Incorporated by reference to Exhibit 99.1 to the Company's
                   Current Report on Form 8-K filed with the SEC on October 5,
                   2020).

Exhibit 23.1       Consent of RSM US LLP                                             94

Exhibit 31.1       Certification of Chief Executive Officer Pursuant to Rule 13a-
                   14(a) of the Exchange Act.                                        95

Exhibit 31.2       Certification of Treasurer and Chief Financial Officer Pursuant
                   to Rule 13a-14(a) of the Exchange Act.                            97

Exhibit 32.1       Certification of the Chief Executive Officer Pursuant to Rule
                   13a-14(b) of the Exchange Act and 18 U.S.C. Section 1350, as
                   Adopted Pursuant to Section 906 of the Sarbanes-Oxley Act of
                   2002.                                                             99

Exhibit 32.2       Certification of the Treasurer and Chief Financial Officer
                   Pursuant to Rule 13a-14(b) of the Exchange Act and 18 U.S.C.
                   Section 1350, as Adopted Pursuant to Section 906 of the
                   Sarbanes-Oxley Act of 2002.                                       100

Exhibit 101.INS*   Inline XBRL Instance Document– the instance document does
                   not appear in the Interactive Data File because its XBRL tags
                   are embedded within the Inline XBRL document.

Exhibit 101.SCH*   Inline XBRL Taxonomy Extension Schema Document

Exhibit 101.CAL*   Inline XBRL Taxonomy Extension Calculation Linkbase
                   Document

Exhibit 101.DEF*   Inline XBRL Taxonomy Extension Definition Linkbase
                   Document

Exhibit 101.LAB*   Inline XBRL Taxonomy Extension Label Linkbase Document




                                           90
Exhibit 101.PRE*   Inline XBRL Taxonomy Extension Presentation Linkbase
                   Document

Exhibit 104*       Cover Page Interactive Data File – the cover page interactive
                   data file does not appear in the Interactive Data File because its
                   XBRL tags are embedded within the Inline XBRL document.

*Filed herewith




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 YEAR ENDED DECEMBER 31, 2020

STURM, RUGER & COMPANY, INC.



          ITEMS 15(a)
FINANCIAL STATEMENT SCHEDULE




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                              Sturm, Ruger & Company, Inc.
                        Item 15(a)--Financial Statement Schedule
                    Schedule II—Valuation and Qualifying Accounts
                                      (In Thousands)


               COL. A                 COL. B                COL. C             COL. D       COL. E
                                                          ADDITIONS

                                                    (1)          (2)
                                                  Charged     Charged to                    Balance
                                     Balance at (Credited) to   Other                       at End
              Description            Beginning Costs and      Accounts                         of
                                     of Period    Expenses    –Describe    Deductions       Period

Deductions from asset accounts:
 Allowance for doubtful accounts:
   Year ended December 31, 2020      $ 400         $        -              $            -    $ 400
   Year ended December 31, 2019      $ 400         $        -              $            -    $ 400
   Year ended December 31, 2018      $ 400         $        -              $            -    $ 400

  Allowance for discounts:
   Year ended December 31, 2020      $1,070        $12,482                 $12,386 (a)       $1,166
   Year ended December 31, 2019      $ 929         $ 9,222                 $ 9,081 (a)       $1,070
   Year ended December 31, 2018      $1,225        $10,704                 $11,000 (a)       $ 929

  Excess and obsolete inventory
     reserve:
   Year ended December 31, 2020      $3,573            $ (179)             $     - (b)       $3,394
   Year ended December 31, 2019      $2,527            $1,199              $ 153 (b)         $3,573
   Year ended December 31, 2018      $2,698            $1,377              $ 1,548 (b)       $2,527




(a)   Discounts taken
(b)   Inventory written off




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                                                                                     Exhibit 23.1

Consent of Independent Registered Public Accounting Firm


We consent to incorporation by reference in the Registration Statements (Nos. 333-84677 and
333-53234) on Form S-8 of Sturm, Ruger & Company, Inc. of our reports dated February 17,
2020 relating to our audits of the consolidated financial statements, the financial statement
schedule, and the effectiveness of internal control over financial reporting, appearing in this
Annual Report on Form 10-K of Sturm, Ruger & Company, Inc. for the year ended December
31, 2020.



/s/ RSM US LLP
Stamford, Connecticut
February 17, 2021




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                                                                                       EXHIBIT 31.1

                                          CERTIFICATION

I, Christopher J. Killoy, certify that:

     1.    I have reviewed this Annual Report on Form 10-K (the “Report”) of Sturm, Ruger &
           Company, Inc. (the “Registrant”);

     2.    Based on my knowledge, this Report does not contain any untrue statement of a material
           fact or omit to state a material fact necessary to make the statements made, in light of
           the circumstances under which such statements were made, not misleading with respect
           to the period covered by this Report;

     3.    Based on my knowledge, the financial statements, and other financial information
           included in this Report, fairly present in all material respects, the financial condition,
           results of operations and cash flows of the Registrant as of, and for, the periods presented
           in this Report;

     4.    The Registrant’s other certifying officer and I are responsible for establishing and
           maintaining disclosure controls and procedures (as defined in Exchange Act Rules 13a-
           15(e) and 15d-15(e)) and internal control over financial reporting (as defined in
           Exchange Act Rules 13a-15(f) and 15d-15(f)) for the Registrant and have:

           a)   Designed such disclosure controls and procedures, or caused such disclosure
                controls and procedures to be designed under our supervision, to ensure that
                material information relating to the Registrant, including its consolidated
                subsidiaries, is made known to us by others within those entities, particularly during
                the period in which this Report is being prepared;

           b)   Designed such internal control over financial reporting, or caused such internal
                control over financial reporting to be designed under our supervision, to provide
                reasonable assurance regarding the reliability of financial reporting and the
                preparation of financial statements for external purposes in accordance with
                generally accepted accounting principles;

           c)   Evaluated the effectiveness of the Registrant’s disclosure controls and procedures
                and presented in this Report our conclusions about the effectiveness of the
                disclosure controls and procedures, as of the end of the period covered by this
                Report based on such evaluation; and

           d)   Disclosed in this Report any change in the Registrant’s internal control over
                financial reporting that occurred during the Registrant’s most recent fiscal quarter
                (the Registrant’s fourth fiscal quarter in the case of an annual report) that has
                materially affected, or is reasonably likely to materially affect, the Registrant’s
                internal control over financial reporting.


                                                  95
    5.   The Registrant’s other certifying officer and I have disclosed, based on our most recent
         evaluation of internal control over financial reporting, to the Registrant’s auditors and
         the audit committee of Registrant’s board of directors (or persons performing the
         equivalent functions):

         a)   All significant deficiencies and material weaknesses in the design or operation of
              internal control over financial reporting which are reasonably likely to adversely
              affect the Registrant’s ability to record, process, summarize and report financial
              information; and

         b)   Any fraud, whether or not material, that involves management or other employees
              who have a significant role in the Registrant’s internal control over financial
              reporting.


Date: February 17, 2021




S/CHRISTOPHER J. KILLOY
Christopher J. Killoy
Chief Executive Officer




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                                                                                      EXHIBIT 31.2

                                        CERTIFICATION

I, Thomas A. Dineen, certify that:

     1.   I have reviewed this Annual Report on Form 10-K (the “Report”) of Sturm, Ruger &
          Company, Inc. (the “Registrant”);

     2.   Based on my knowledge, this Report does not contain any untrue statement of a material
          fact or omit to state a material fact necessary to make the statements made, in light of
          the circumstances under which such statements were made, not misleading with respect
          to the period covered by this Report;

     3.   Based on my knowledge, the financial statements, and other financial information
          included in this Report, fairly present in all material respects, the financial condition,
          results of operations and cash flows of the Registrant as of, and for, the periods presented
          in this Report;

     4.   The Registrant’s other certifying officer and I are responsible for establishing and
          maintaining disclosure controls and procedures (as defined in Exchange Act Rules 13a-
          15(e) and 15d-15(e)) and internal control over financial reporting (as defined in
          Exchange Act Rules 13a-15(f) and 15d-15(f)) for the Registrant and have:

          a)   Designed such disclosure controls and procedures, or caused such disclosure
               controls and procedures to be designed under our supervision, to ensure that
               material information relating to the Registrant, including its consolidated
               subsidiaries, is made known to us by others within those entities, particularly during
               the period in which this Report is being prepared;

          b)   Designed such internal control over financial reporting, or caused such internal
               control over financial reporting to be designed under our supervision, to provide
               reasonable assurance regarding the reliability of financial reporting and the
               preparation of financial statements for external purposes in accordance with
               generally accepted accounting principles;

          c)   Evaluated the effectiveness of the Registrant’s disclosure controls and procedures
               and presented in this Report our conclusions about the effectiveness of the
               disclosure controls and procedures, as of the end of the period covered by this
               Report based on such evaluation; and

          d)   Disclosed in this Report any change in the Registrant’s internal control over
               financial reporting that occurred during the Registrant’s most recent fiscal quarter
               (the Registrant’s fourth fiscal quarter in the case of an annual report) that has
               materially affected, or is reasonably likely to materially affect, the Registrant’s
               internal control over financial reporting.


                                                 97
 5.       The Registrant’s other certifying officer and I have disclosed, based on our most recent
          evaluation of internal control over financial reporting, to the Registrant’s auditors and
          the audit committee of Registrant’s board of directors (or persons performing the
          equivalent functions):

          a)   All significant deficiencies and material weaknesses in the design or operation of
               internal control over financial reporting which are reasonably likely to adversely
               affect the Registrant’s ability to record, process, summarize and report financial
               information; and

          b)   Any fraud, whether or not material, that involves management or other employees
               who have a significant role in the Registrant’s internal control over financial
               reporting.


Date: February 17, 2021



S/THOMAS A. DINEEN
Thomas A. Dineen
Senior Vice President, Treasurer and
Chief Financial Officer




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                                                                                    EXHIBIT 32.1


                        Certification Pursuant to 18 U.S.C. Section 1350,
                                     As Adopted Pursuant to
                         Section 906 of the Sarbanes-Oxley Act of 2002




In connection with the Annual Report on Form 10-K of Sturm, Ruger & Company, Inc. (the
“Company”) for the period ended December 31, 2020, as filed with the Securities and Exchange
Commission on the date hereof (the “Report”), I, Christopher J. Killoy, Chief Executive Officer
of the Company, hereby certify, pursuant to 18 U.S.C. Section 1350, as adopted pursuant to Section
906 of the Sarbanes-Oxley Act of 2002, that, to the best of my knowledge:

       (1)     The Report fully complies with the requirements of Section 13(a) or 15(d) of the
               Securities Exchange Act of 1934; and

       (2)     The information contained in the Report fairly presents, in all material respect, the
               financial condition and results of operations of the Company.




Date: February 17, 2021                              S/CHRISTOPHER J. KILLOY
                                                     Christopher J. Killoy
                                                     Chief Executive Officer




A signed original of this statement has been provided to the Company and will be retained by the
Company and furnished to the Securities and Exchange Commission or its staff upon request.




                                                99
                                                                                   EXHIBIT 32.2



                       Certification Pursuant to 18 U.S.C. Section 1350,
                                    As Adopted Pursuant to
                        Section 906 of the Sarbanes-Oxley Act of 2002




In connection with the Annual Report on Form 10-K of Sturm, Ruger & Company, Inc. (the
“Company”) for the period ended December 31, 2020, as filed with the Securities and Exchange
Commission on the date hereof (the “Report”), I, Thomas A. Dineen, Senior Vice President,
Treasurer and Chief Financial Officer of the Company, hereby certify, pursuant to 18 U.S.C.
Section 1350, as adopted pursuant to Section 906 of the Sarbanes-Oxley Act of 2002, that, to the
best of my knowledge:

       (1)    The Report fully complies with the requirements of Section 13(a) or 15(d) of the
              Securities Exchange Act of 1934; and

       (2)    The information contained in the Report fairly presents, in all material respect, the
              financial condition and results of operations of the Company.




Date: February 17, 2021                             S/THOMAS A. DINEEN
                                                    Thomas A. Dineen
                                                    Senior Vice President, Treasurer and
                                                    Chief Financial Officer




A signed original of this statement has been provided to the Company and will be retained by the
Company and furnished to the Securities and Exchange Commission or its staff upon request.




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